         Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 1 of 24



                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                             ----------------------------------------
VIRGINIA L. GIUFFRE,

        Plaintiff,

v.                                                                                                15-cv-07433-LAP


GHISLAINE MAXWELL,

        Defendant.

--------------------------------------------------X




                 Ms. Maxwell’s Brief In Support Of Maintaining Categories
                                Of Documents Under Seal




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           Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 2 of 24



       Defendant Ghislaine Maxwell, through her counsel, submits this Brief in support of

maintaining categories of documents under seal.

                                           SUMMARY
       In accordance with the Court’s direction at the hearing on September 4, 2019, the parties

on September 18 submitted proposed categories for all the hundreds of sealed court

submissions.1The parties agreed on seven categories; they disagreed on the four shaded

categories below and requested that the Court resolve the disagreement. See Doc.987, at 2-4.

            1    Motions to Compel and Related Motions for Protective Orders and Court
                 Orders
            2    Motions in Limine re Admissibility of Evidence and Related Orders
            3    Motions in Limine re Expert Testimony and Related Orders
            4    Trial Deposition Designations and Counter-Designations
            5    Objections to Trial Deposition Designations and Counter-Designations
            6    Filings related to Third-Party Intervenors and Related Orders
            7    Filings related to Third-Party – Other – and Related Orders
            8    Case Management Filings and Related Orders
            9    Adverse Inference/Sanction Motions/ Motions to Strike or Exclude Evidence
            10   Trial Motions and Trial Submission
            11   Motions re Depositions

       As to Categories 4 and 5, the only disagreement is whether they should be combined into

one or separated into two categories. As we pointed out in our submission of the proposed

categories, separation makes sense since we believe Category 4 collects a large number of court

submissions that constitute non-judicial documents. See Doc.987 at 3-4.

       This brief addresses the first nine categories listed in the chart above. We believe Plaintiff

Giuffre’s proposed Categories 10 and 11 are superfluous: all the documents Plaintiff

contemplates placing in these categories are already captured in Categories 1-2, 5, 6-8. See id. at

5.


       1
        Appended to this Brief, in a effort to assist the Court, is a list of docket entries that have
been identified as Category 1-9 documents.


                                                  1
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 3 of 24



       At the September 4 hearing the Court contemplated that the party urging continued

sealing of documents would file one brief of five double-spaced pages for each of the up to ten

categories, i.e., up to 45 pages (five pages for nine categories). Tr. of 9/4/2017 Hearing, at 20-22.

We respectfully request leave to submit all the briefing in one document. We do so because one

brief will be more efficient for the parties and Court as opposed to nine separate briefs and

because we can complete the briefing with fewer than five pages per category and in the

aggregate far fewer than 45 pages.

       We understand the principal purpose of the categorization exercise was to identify entire

categories of sealed court submissions that constitute non-judicial documents, which would

remain sealed and so there would be no need to notify non-parties. See id. at 11 (Court: “[I]f a

big category involving the non-parties is ruled out, then we don’t have to bother all the non-

parties?”); id. at 18 (Court: indicating that identifying non-judicial documents first would avoid

needing to “notify[] a thousand [non-parties]”). In this Brief we identify one category—Category

5—that contains exclusively non-judicial documents. The remaining eight categories range from

what the Court described as “negligibly judicial,” id. at 10, documents with a light presumption

of access that easily can be overcome to documents with a heavier presumption of access that

requires a weightier interest to overcome it.

       Although we agree eight of the categories contain judicial documents on the

presumption-of-access spectrum, we note that many of these judicial documents attach exhibits

and other items that are not judicial documents because, e.g., they were submitted “solely so that

the court may decide whether [they] must be disclosed in the discovery process or shielded by a

Protective Order,” Brown v. Maxwell, 929 F.3d 41, 50 n.33 (2d Cir. 2019); see Doc.989, at 2-3.

As discussed in our September 23, 2019, letter to the Court, we understand that briefing on such




                                                  2
           Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 4 of 24



attachments and exhibits to judicial documents will be completed at a later time so that non-

parties can be notified that the Court is considering the unsealing of sealed judicial documents.

       At the September 4 hearing the Court said expedited briefing would address “what is or is

not in any of the three categories,”2 i.e., judicial documents, negligibly judicial documents, and

non-judicial documents. See id. at 21 (Court: indicating that first step is to “consider which

category the documents [go] into” and then “there’s a ruling on that”). In the Amended Order

entered September 5 the Court directed that parties “submit papers no longer than 5 double-

spaced pages . . . arguing for sealing.” Doc.982. We understand this to mean that parties urging

continued sealing of categories of sealed documents should submit briefing in support of their

position for continued sealing of all the documents in that category.

       It is relatively straightforward to argue in five or fewer pages why an entire category of

sealed documents should remain sealed. It is not possible in five pages to argue why many

dozens of admittedly judicial or negligibly judicial documents and/or their attachments and

exhibits should remain sealed. A principal reason it is not possible is that proponents of sealing

must make “particular objections to unsealing specific materials” so that the Court can

“conduct . . . a particularized review” to determine whether “the presumption of public access

outweighs any countervailing privacy interests,” Brown, 929 F.3d at 51; see id. at 48 (holding

that district court “failed to review the documents individually and produce specific, on-the-

record findings that sealing is necessary to preserve higher values. . . . Instead, the District Court

made generalized statements about the record as a whole. This too was legal error.”) (internal

quotations and footnote omitted); id. at 49 (even when presumption of public access is lower for

some judicial documents, “a court must still articulate specific and substantial reasons for sealing



       2
           Tr. of 9/4/2017 Hearing, at 19


                                                  3
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 5 of 24



such material”). And, as noted, at this stage in the remand proceedings the Court and the parties

are only at the first step—trying to determine whether the parties can agree that entire categories

of sealed documents should remain sealed.

                                      Standard of Review
       Our discussion of the categories is guided by standards for determining what is a judicial

document. The mere filing of a document with the court is insufficient to render it a judicial

document subject to the right of public access. Brown, 929 F.3d at 49. For a document to be a

judicial document and subject to a presumption of access by the public, the document must be

relevant to the performance of the judicial function and useful in the judicial process. Id. A court

performs the judicial function when it “rules on motions currently before it” and exercises its

inherent supervisory powers. Id. A document is relevant to the performance of the judicial

function if it reasonably would have a tendency to influence a district court’s ruling on a motion

or the exercise of its supervisory powers. Id. If a court determines a document is not relevant to

the performance of a judicial function, “no presumption of public access attaches.” Id.

       Once an item is identified as a judicial document, the weight given the presumption of

access is governed by the role of the material at issue in the exercise of judicial power “and the

resultant value of such information to those monitoring the federal courts.” Id. Evidence

introduced at trial or in connection with summary judgment enjoys a strong presumption of

public access. However, documents that “‘play only a negligible role in the performance of

Article III duties’ are accorded only a low presumption that ‘amounts to little more than a

prediction of public access absent a countervailing reason.’” Id. at 49-50 (quoting United States

v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995)(“Amodeo II”)). Documents never filed with the

court “lie entirely beyond the presumption’s reach.” Id. (internal quotations omitted).




                                                 4
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 6 of 24



                                         DISCUSSION

   I. CATEGORY 1: Motions to Compel and Related Motions for Protective
      Orders and Court Orders
       Category 1 captures some 132 docket entries. Each docket entry is a motion to compel,

motion for protective order or similar discovery-related request for an order, and responses,

replies, declarations and exhibits filed in connection with those motions. This category consists

of (1) non-judicial documents, and (2) negligibly judicial documents.

       Materials submitted to the court solely so that the court may decide whether they must be

disclosed in the discovery process or shielded by a protective order are not judicial documents

and therefore are not afforded a presumption of access. Brown, 929 F.3d at 49 n.33. Some of the

items in Category 1 are such non-judicial documents. See, e.g., Docs.141, 370, 806, 830, 841.

For example, Doc.370 is a motion for an order protecting from disclosure in the discovery

process Ms. Maxwell’s personal financial information.

       Other discovery-related court filings in Category 1 “at least on their face,” Brown, 929

F.3d at 50, are judicial documents, e.g., motions to compel testimony and to quash trial

subpoenas. Accordingly, on their face they “are subject to at least some presumption of public

access.” Id. (footnote omitted). However, as the Second Circuit observed, the court’s authority to

oversee discovery is “ancillary to the court’s core role in adjudicating a case”; “[a]ccordingly,

the presumption of public access in filings submitted in connection with discovery disputes . . . is

somewhat lower than the presumption applied to materials introduced at trial, or in connection

with dispositive motions.” Id.

       In fact, in the next step when the Court invites the parties to submit substantive

arguments on whether judicial documents in the various categories should be unsealed, we intend

to demonstrate that the discovery-related submissions are negligibly judicial documents with



                                                 5
           Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 7 of 24



only a slight presumption of access that “amounts to little more than a prediction of public access

absent a countervailing reason” id. at 49-50 (internal quotations omitted). This is true in part

because these submissions concerned issues wholly collateral to the lawsuit’s merits. They

concerned whether materials to be “passed between the parties”3 were discoverable under the old

Rule 26(b)(1), which governed the case at bar. That rule permitted parties to discover any

material not privileged regardless of admissibility, so long as the discovery request “appears

reasonably calculated to lead to the discovery of admissible evidence,” Fed. R. Civ. P. 26(b)(1)

(2015). The Supreme Court amended the rule effective December 1, 2015, to eliminate the

“reasonably calculated” language. See generally

https://www.americanbar.org/groups/litigation/committees/products-liability/practice/2017/2015-

amendments-to-frcp/. The old Rule 26(b)(1) regime’s low threshold outstanding materials in

discovery underscores the non-judicial or negligibly judicial nature of discovery motions and the

materials relating to such motions.

       Because there are compelling countervailing reasons against unsealing the court

submissions in Category 1, the parties, non-parties and the Court will need to proceed to the

second step to determine which of the submissions should remain sealed.

  II. CATEGORY 2: Motions in Limine re Admissibility of Evidence and Related
      Orders

       In anticipation of a May 2017 trial the parties filed 116 pleadings related to the

admissibility of various pieces of evidence. Because it was clear that Plaintiff was attempting to

transform the focus of this matter from a 2015 single-count defamation claim against Ms.

Maxwell into a de facto sex trafficking case against Jeffrey Epstein, allegedly occurring between




       3
           Id. at 50 (internal quotations omitted).


                                                      6
           Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 8 of 24



approximately 2000-2008, Ms. Maxwell was forced to move to exclude dozens of items of

irrelevant evidence and respond to an equal number of attempts by Plaintiff to introduce clearly

inadmissible evidence.4 Many of the documents at issue were subject to protective orders in

other cases.5 Most of the documents were discovered under the Protective Order.

       Doc.601 is a good example. There, Plaintiff submitted a Notice which argued that

roughly 600 pages of hearsay evidence, virtually all unauthenticated, would be admissible

through Fed. R. Evid. 807. Ms. Maxwell pointed out, in Doc.646, the myriad problems with the

Notice. Virtually all the hearsay documents were the subject of separate motions in limine.

       Other types of limine motions related to discrete pieces of evidence. For example,

Plaintiff sought to introduce an unauthenticated collection of internally inconsistent and

obviously manipulated photocopied pages, purportedly obtained from a dead person (who had

been convicted of two federal felonies), by one of Plaintiff’s lawyers in another case. Thus, Ms.

Maxwell was forced to file Doc.679, which corresponds to Plaintiff’s Doc.683.

       These documents all fall into the category of negligibly judicial documents because they

are subject to at least some presumption of public access. See Brown, 929 F.3d at 50. The

presumption of public access in filings submitted in connection with “motions in limine is



       4
         Most, if not all, of the limine motions relating to the admissibility of evidence were not
ruled on by the Court prior to the case being settled and dismissed. Such “lapsed” motions are
non-judicial documents. See, e.g., Brown, 929 F.3d at 49 (“court performs a judicial function
when it rules on motions currently before it”; a motion is not relevant to judicial function, “no
presumption of public access attaches”).
       5
          It may well be that some of these documents are no longer subject to a separate
protective order and have been released. Ms. Maxwell has not tracked which documents may or
may not have been released by another Court and submits that whether that has occurred should
not alter the analysis here. Indeed, if the documents have already been released the presumption
of access here is diminished by the ability of the public, the media, and Plaintiff to find, and
disseminate them from that forum.


                                                 7
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 9 of 24



generally somewhat lower than the presumption applied to material introduced at trial, or in

connection with dispositive motions such as motions for dismissal or summary judgment.” Id.

       Application of an individualized review of these motions in limine weighs in favor of

maintaining the status of sealed documents. Virtually all the documents were provided under the

Protective Order; the documents invariably relate to third parties; the information attached was

generally not considered by the Court as more often than not no rulings were made. Thus, the

value of those “monitoring the federal courts,” id., is non-existent.

       Most, if not all, of the disputed evidence was inadmissible at trial. Documents sought to

be introduced at trial but not admitted are ancillary to the court’s role in adjudicating a case and

“the weight of the presumption of access to these materials is diminished.” United States v.

Gatto, No. 17-CR-686 (LAK), 2019 WL 4194569, at *6 (S.D.N.Y. Sept. 3, 2019).

       In Amodeo II the court recognized that the personal motivation of the individuals seeking

access play a role in the decision to seal or unseal a document. Although the court declined to

speculate about the role of journalists, it noted: “Different considerations apply where personal

motives, such as an individual vendetta or a quest for competitive economic advantage, are

involved. However, we believe these considerations are best weighed as part of an assertion by a

person or firm of a right of privacy based on an anticipated injury as a result of disclosure.”

Amodeo II, 71 F.3d at 1050.

       It is a curious, distorted, and troubling process that transforms otherwise inadmissible

evidence into “judicial documents” that then allows the proponent of the inadmissible evidence

to hawk her story with defamation-impunity. A Google search of the name “Giuffre” yields

4,750,000 results and includes dozens of interviews by Plaintiff and her lawyers. The media have

failed to heed any of the advice handed down by the Second Circuit in this case but instead quote




                                                  8
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 10 of 24



whole cloth from false allegations made in court papers. Plaintiff and her lawyers initiated yet

another defamation claim, this time against Alan Dershowitz, No. 19 CV 03377, pending before

this Court. Their motivation in unsealing the documents is patent, having gone from a participant

in the Protection Order when it suited their economic interests, to abandoning it when it does

not.6

        A number of factors warrant continued non-disclosure of these documents: (1) the danger

of impairment of law enforcement; (2) judicial efficiency; (3) the privacy interests of those

resisting disclosure; and (4) the absence of any actual ruling by the Court related to the various

motions. See, United States v. Gatto, at *6 recognizing factors 1, 2, 3, and Brown, at 50

recognizing factor 4.

        The Plaintiff and her lawyers are actively seeking to indict Ms. Maxwell and use

information provided pursuant to a protective order to do so. The danger of impairment of law

enforcement is high with the death of Mr. Epstein any putative plaintiff can simply copy the

unsworn allegations of others in questioned documents and pile on Ms. Maxwell. Witness

testimony may be impacted or changed by the serial repetition of the false allegations against

Ms. Maxwell and others. The ability to seat a fair and impartial jury in any civil or criminal trial




        6
         https://www.cbsnews.com/video/jeffrey-epstein-accuser-courtney-wild-speaks-out-
about-sex-abuse-charges/; https://www.today.com/video/jeffrey-epstein-accusers-detail-abuse-
in-nbc-news-exclusive-69459525763; https://nypost.com/2019/09/19/jeffrey-epstein-accuser-
reacts-to-his-death-i-was-in-mourning/; https://nypost.com/2019/09/16/epstein-sex-slave-tried-
to-swim-shark-infested-waters-to-escape/; https://www.dailymail.co.uk/news/article-
7490139/Prince-Andrews-accuser-Virginia-Roberts-says-shattered-belief-good-fairytale-
princes.html; https://abcnews.go.com/WNT/video/jeffrey-epsteins-accusers-speak-alleged-
sexual-abuse-court-65229488; https://www.cbsnews.com/video/lawyer-for-epsteins-alleged-
victims-there-are-well-in-excess-of-50/; https://www.youtube.com/watch?v=3rNlz77uTYQ;
https://www.insider.com/epstein-sexually-abused-victims-while-serving-jail-time-brad-edwards-
2019-7; https://www.npr.org/2019/08/12/750395578/epsteins-accusers-plan-to-pursue-legal-
options


                                                  9
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 11 of 24



is impacted by publicized disclosure of unproven accusations. It is in the interest of judicial

efficiency to maintain the status of these documents because of the difficulty associated with a

page-by-page line-by-line review of material with a diminished presumption of access,

particularly where some 2,000 pages of information related to the summary judgment pleadings

have been disclosed. Because no ruling was made by the court related to the majority of the

limine motions the monitoring interest is minimal. Finally, there are dozens of innocent

individuals who have no desire to see their private information exposed to the public. “[T]he

privacy interests of innocent third parties … should weigh heavily in a court’s balancing

equation.” Amodeo II, at 1051.

 III. CATEGORY 3: Motions in Limine re Expert Testimony and Related Orders
       The parties filed 48 pleadings (Doc.520-536; 569-575; 577-585; 599-600; 602-603; 611-

619; 664; 726-727 and 786) related to the admissibility of all or part of a purported expert’s

opinion. Ms. Maxwell generally objected to the attempt to improperly present: inadmissible

character evidence; inadmissible hearsay evidence; improper or non-disclosed damages or

damage calculations; and inadmissible evidence about the credibility of witnesses, all through

the use of alleged expert testimony. Ms. Maxwell also objected to the untimely disclosure of

certain testimony, e.g., Doc.521-523; 574-575; 612; 664; 726-727; & 786. Much of the proffered

testimonies and purported experts were inadmissible for many overlapping reasons.

       The disagreements about who could opine about what required the submission of

discovery documents that ordinarily are not filed with the Court. These discovery documents

included the various expert reports; excerpts of deposition testimony taken pursuant to the

Protective Order; Rule 26(a)(1)(A) disclosures that included the names and addresses of dozens

of third parties and alleged damage calculations; financial information including photocopies of

checks; and various other materials that had been produced subject to the Protective Order.


                                                 10
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 12 of 24



       The public's right of access is limited to traditionally publicly available sources of

information, and “discovered, but not yet admitted, information” is not “a traditionally public

source of information.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33, (1984). At common law,

pretrial proceedings were closed to the public, see Gannett Co., Inc. v. DePasquale, 443 U.S.

368, 389 (1979), and the federal discovery rules have not changed this common-law tradition. As

the Court noted in Seattle Times, “[d]iscovery rarely takes place in public,” 467 U.S. at 33 n.19,

104, and the system created by Rule 26 contemplates that the exchange of information will occur

with minimal judicial involvement. See Fed. R. Civ. P. 26(a)(1)(A) (requiring parties to disclose

certain material automatically, regardless whether other litigants have requested it); id. 26(c)(1)

(party seeking a protective order must certify that it has “in good faith conferred or attempted to

confer with other affected parties in an effort to resolve the dispute without court action”).

Indeed, it has long been the rule that information exchanged in discovery is not filed with the

court but simply exchanged between the parties. See, e.g., Fed. R. Civ. P. 5(d). Thus, things like

depositions, written discovery responses, expert opinions, and documents exchanged among the

parties are non-judicial documents. Amodeo II, 71 F.3d at 1050.

       Unfortunately, Plaintiff weaponized the expert testimony and corresponding disclosures

required under Rule 26(a)(2)(B). Ms. Maxwell was, out of necessity, forced to seek pretrial

orders from the Court either eliminating or excluding the inadmissible opinions, testimony, and

experts. This, in turn, required Ms. Maxwell to attach the offending information. Plaintiff, in

turn, attached more offending information to her responses. Thus, the court filings are packed

with information generated by the Plaintiff in the discovery process that was largely inadmissible

as evidence at trial and, absent the need to obtain court assistance in excluding the testimony, the

documents would have never been taken out of the status of clearly non-judicial documents.




                                                 11
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 13 of 24



       Of course, the law in this circuit is clear that the various motions in limine, their attendant

responses, replies and attachments are in the category of “negligible” judicial documents, Brown,

929 F.3d at 49. These are documents that “play only a negligible role in the performance of

Article III duties” and are accorded only a low presumption that “amounts to little more than a

prediction of public access absent a countervailing reason.” Id. at 49-50 (internal quotations and

footnote omitted).

       Here, there are many countervailing reasons to deny public access, including: the

opinions, testimony, and attachments were subject to an agreed upon Protective Order. Ms.

Maxwell relied on the Protective Order when seeking assistance from the Court in excluding

inadmissible testimony; numerous third parties are identified in the various filings attached to the

motions and responses; any testimony attached as an exhibit was obtained pursuant to the

guarantee of the Protective Order. The evidence generally would not have been admissible at

trial; thus, it was offered for an improper purpose and subject to a motion to strike or exclude.

Had Ms. Maxwell not been forced to move to exclude the testimony the information would have

remained a non-judicial document subject to the Protective Order. The expert opinions objected

to were generally “libelous statements for press consumption,” Brown, 929 F.3d at 41.

       It is important to note that the various experts are presumably free to offer their opinions

directly to the media should the Plaintiff wish to authorize the dissemination of these

defamatory, unscientific, and unsupportable statements. The Court, however, should not afford

this information privileged status or allow the court file to serve as a protected “reservoir” for

defamatory material. In addition, the four innumerated factors discussed in Section II, above,

apply equally here.




                                                 12
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 14 of 24



 IV. CATEGORY 4: Trial Deposition Designations and Counter-Designations

       Most of the potential trial witnesses in this case resided outside the state of New York. A

total of 29 depositions occurred and a significant portion of the deposition testimony was

designated for use at trial under Rule 32 (a)(6). With the exception of experts, all the deposition

testimony was compelled. All the designated deposition testimony was subject to the Protective

Order. Most of the witnesses were represented by counsel, and a condition of the appearance at

the deposition was that the testimony would remain confidential.

        In addition to depositions taken in this case, Plaintiff and her lawyers were also parties to

other, either prior or ongoing, litigation with Jeffrey Epstein and Alan Dershowitz. Deposition

testimony from witnesses in these matters was also designated for use in this case.

       The parties exchanged deposition designations and counter-designations. One set of

counter-designations was erroneously filed with the Court. See Doc.592. These counter-

designations consist of start and end times for the video-recorded deposition testimony of various

witnesses.

       On April 5, 2017, the parties appeared for a hearing to discuss the objections to the

various deposition designations. Plaintiff’s counsel attended the hearing with what appeared to

be more than a dozen boxes of material, presumably all the deposition transcripts. None of the

material was inspected by counsel for Ms. Maxwell. The Court did not hold any hearing on the

objections to the various designations and counter designations and counsel for Ms. Maxwell do

not know, or recall, what happened to the many boxes with unknown content that we presumed

were deposition transcripts. The case was settled and dismissed with prejudice before any ruling

was issued. The parties do not know whether Judge Sweet ever reviewed any of the deposition

designations, counter-designations, or objections.




                                                 13
       Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 15 of 24



       If entire unread deposition transcripts remain somewhere within the United States District

Court for the Southern District of New York a determination of what to do with the material is

necessary.

       The deposition designations, counter-designations, and transcripts related to those

portions of testimony are non-judicial documents. Amodeo II, 71 F.3dat 1050. The fact that

transcripts may have been dropped off in the courtroom or transferred electronically does not

change the status of the transcripts as non-judicial documents because “the mere filing of a paper

or document with the court is insufficient to render that paper a judicial document subject to the

right of public access.” United States v. Gatto, at *2 (quoting Brown, 929 F.3d at 49 (quoting

Amodeo I, 44 F.3d at 145)).

       Portions of the designated testimony were also used as exhibits to the summary judgment

briefs. Because the summary judgment materials were deemed judicial documents as a matter of

law, the Second Circuit released redacted versions of the transcripts submitted in connection with

the summary judgment briefing. See Brown, 929 F.3d at 48 n.22: “Upon issuance of our

mandate, a minimally redacted version of the summary judgment record will be made accessible

on the Court of Appeals docket. We have implemented minimal redactions to protect personally

identifying information such as personal phone numbers, contact lists, birth dates, and social

security numbers. We have also redacted the names of alleged minor victims of sexual abuse

from deposition testimony and police reports, as well as deposition responses concerning

intimate matters where the questions were likely only permitted—and the responses only

compelled—because of a strong expectation of continued confidentiality. See Fed. R. Civ. P.

5.2.” (Emphasis added.)




                                                14
       Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 16 of 24



       The remaining portions of any transcripts, designations, or counter-designations are

nothing more than discovery documents exchanged prior to trial. All of these materials should

remain sealed.

  V. CATEGORY 5: Objections to Trial Deposition Designations and Counter-
     Designations
       Plaintiff served deposition designations for 14 witnesses for use in her case in chief at

trial.7 With respect to four of the witnesses, Ms. Maxwell objected to the use of the deposition

testimony pursuant to Fed. R. Civ. P. 32 and Fed. R. Evid. 804(b)(1) because either (a) the

witnesses were not unavailable and/or (b) the requirements for use of deposition in lieu of live

testimony could not be met (Doc.567-568). For example, one of the proposed deponents that Ms.

Maxwell sought to exclude, in toto, was a dead, twice-convicted felon, who was deposed in an

unrelated proceeding (that occurred years before the defamation action) in which Ms. Maxwell

was not a party and had no opportunity to question or cross-examine. Discrete excerpts of pages

of deposition testimony were attached to Ms. Maxwell’s in toto objections.

       Ms. Maxwell separately filed specific objections with respect to the remaining ten

witnesses because the Federal Rules of Evidence required portions, or in some instances all, of

the designated testimony to be excluded. Doc.566 is a 107-page submission with specific

evidentiary objections to proposed questions and answers of the various deponents. The

objections referenced specific start and end times that were objectionable but did not quote or

attach the testimony.

       Ms. Maxwell objected to various cross or counter-designations in a similar fashion, by

referencing start and stop times and lodging specific evidentiary objections. See Doc.633. Ms.


       7
        Fourteen pleadings were filed relating to trial deposition testimony: Doc.561-568; 606-
607; and 630-633.


                                                15
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 17 of 24



Maxwell did not submit what would have been hundreds, if not thousands, of pages of transcripts

as part of her objections.

       Ms. Maxwell also designated deposition testimony. Plaintiff objected to various

deposition designations, including her own testimony in another matter, see Docs.563-565,

ignoring the fact that these statements were admissions and independently admissible under Fed.

R. Evid. 801(d)(2). Plaintiff also objected to the deposition testimony of Mr. Dershowitz See

Docs.562-564.

       In addition to her objections to certain witnesses, Plaintiff filed specific objections to

defense-designated testimony by objecting to start and stop times with citations to various rules

of evidence. See Docs.565 and 630.

       The last pleading filed with relation to the deposition designations or counter-

designations occurred on February 17, 2017 (Doc.633). At that point transcripts had not been

provided to the Court for review.

       On or about March 31, 2017, Plaintiff submitted highlighted copies of transcripts to the

Court and served Defense counsel with an electronic link to download a copy of what was

emailed to the Court. It is unclear what, if anything, happened to the linked documents. Defense

counsel assumes the electronically submitted transcripts are the same as the transcripts left with

the Court on April 5, 2017. However, no review of what was or was not submitted in paper

format ever occurred. It is these electronic and paper copies of transcripts that Ms. Maxwell

believes are non-judicial documents as discussed in Category 2, supra. If the Court disagrees

with the position that the that the dropped-off transcripts are non-judicial documents Ms.

Maxwell submits that these transcripts are entitled to no greater presumption of access than other




                                                 16
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 18 of 24



discovery documents provided for reference to resolve a dispute regarding admissibility, i.e.,

negligible.

       No hearing was held regarding the objections to designations and no ruling was made by

the Court on any of the designations, counter-designations, or objections. Accordingly, they are

non-judicial documents. See Brown, 929 F. 3d at 49.

       Even if they were negligibly judicial documents they should remain sealed. These

documents all fall into the category of negligible judicial documents because they are subject to

at least some presumption of public access. Id., at 50. The presumption of public access in filings

submitted in connection with “motions in limine is generally somewhat lower than the

presumption applied to material introduced at trial, or in connection with dispositive motions

such as motions for dismissal or summary judgment.” Id.

       Application of an individualized review of these objections to deposition testimony

weighs in favor of maintaining the status of sealed documents. The pleadings by and large are

start and stop times with citations to the Federal Rules of Evidence. All of the underlying

testimony was provided under the Protective Order; most of it was compelled; the documents

and testimony relate to third parties and additional non-parties; the information attached was

generally not considered by the Court as more often than not no rulings were made. Thus, the

value of those “monitoring the federal courts,” id., is non-existent.

 VI. CATEGORY 6: Filings Related to Third-Party Intervenors and Related
     Orders

       The appeal giving rise to the current remand proceedings was initiated by several

intervenors to this action, including Professor Alan Dershowitz and members of the press, Mr.

Michael Cernovich and Ms. Julie Brown. The docket contains filings related to those intervenors

right to intervene and their applications for the unsealing of materials, many of which contain



                                                 17
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 19 of 24



either redactions or sealed attachments. See, e.g., Docs.362-64, 406-408, 435-36, 447, 922, 928,

933 & 947. Because they also were attached to summary judgment pleadings, some of those

sealed attachments have already been unsealed by the Second Circuit in Brown. E.g., Doc.363,

Ex. B (“The Billionaire Playboys Club” ‘manuscript’). Many, however, remain sealed.

       The submissions requesting the Court to take action with respect to intervention and

unsealing qualify as “judicial documents” under the Brown test. The weight of any presumption

of access is diminished because the intervention papers were “ancillary to the court’s core role in

adjudicating a case.” Brown, 929 F.3d at 50. For the most part, the sealed documents implicate

the privacy interests of non-parties, a significant countervailing factor to their unsealing.

       Other documents attached to Plaintiff’s opposition to intervention are not judicial

documents. These exhibits and accompanying text were not “relevant to the performance of the

judicial function,” and thus were not “judicial documents” and were not entitled to any

presumption of public access. See id. Brown at 51-52 & n.12. Many were wholly immaterial to

the question of intervention or sealing. For example, in opposition Mr. Dershowitz’s original

application to intervene, Plaintiff attached numerous sealed filings and pleadings related to a

wholly separate lawsuit between Plaintiff’s counsel and Mr. Dershowitz in Florida state court,

including confidential deposition testimony, other sealed filings, and motions to strike.

Docs.407-08. Those documents had already been designated and treated as confidential in a

completely different action to which Ms. Maxwell was not a party, and as to some, the Florida

court had ruled on motions to strike. The exhibits and accompanying argument were immaterial

to the question of intervention and unsealing presented to Judge Sweet and should remain sealed

as non-judicial documents.




                                                 18
       Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 20 of 24



VII. CATEGORY 7: Filings Related to Third-Party (Other Than Intervenors) –
     and Related Orders
       Numerous non-parties found themselves the subjects of, or engaged in, discovery and

other disputes in the course of the underlying litigation. These included motions to compel

testimony, to comply with subpoenas duces tecum, and for protective orders.8

       Any and all arguments concerning Motions to Compel, supra Category 1, are

incorporated herein by reference. As the Brown court ruled, discovery disputes are afforded

status as a judicial document, but the presumption of access is “generally somewhat lower” than

that afforded dispositive motions or evidence introduced at trial. Moreover, because the privacy

rights of non-parties are involved, per the Second Circuit’s direction, any such non-party should

be given notice and opportunity to be heard on any countervailing arguments regarding their

disclosure. Additionally, many of the attachments to these third party pleadings are of the type

normally exchanged between the parties but not filed in Court, such as Rule 26 disclosures with

witness names and addresses, or discovery responses. See Brown, 929 F.3d at n.33 (holding

“material that is submitted to the court solely so that the court may decide whether that same

material must be disclosed in the discovery process or shielded by a Protective Order” are non-

judicial documents); id. at 50 (documents “never filed with the court, but simply passed between

the parties in discovery, lie entirely beyond the presumption’s reach”)(quoting Amodeo II).

       Here, many third parties were compelled to participate in the discovery process with

promises of confidentiality and irrespective of whether they ultimately had admissible or

inadmissible evidence. Also, their privacy rights, recognized by the Brown court, which redacted




       8
        Docs.309, 311, 449-50, 470-71, 473-74, 591, 640-41, 653-57, 700-01, 707-09, 712-15,
761, 873-77, 888, 896-97, 908-09


                                                19
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 21 of 24



names and often details form summary judgment materials (id. at n.22), apply with even greater

force to these non-adjudicatory, weak-presumption documents.

VIII. CATEGORY 8: Case Management Documents
       Sprinkled throughout the trial court docket are various filings pertaining merely to the

Court’s management of the case which are thus entitled to a very weak presumption of access.

Moreover, many of those filings contained exhibits not “relevant to the performance of the

judicial function,” which are neither “judicial documents” nor entitled to any presumption of

public access.

       Case management documents include the parties’ requests seeking minor extensions of

time (e.g., undocketed letter motions and Docs.306-07), motions for leave to serve subpoenas by

means other than personal service (Docs.160-61), notices to redact transcripts (Docs.721, 796,

823, 840, 894), joint pretrial statements (Docs.622, 859) or a motion for additional depositions

(Docs.172-73). In many cases, Plaintiff attached to these ministerial pleadings substantial

quantities of documents irrelevant to the Court’s case management analysis. By way of example,

Plaintiff’s May 27, 2016 Motion to Exceed Presumptive Ten Deposition Limit was accompanied

by exhibits totaling 803 pages, including the entire confidential deposition transcripts of the two

witnesses she had deposed to that point (Doc.173, Exs. 5-6).9

       As the Brown court recognized, to merit any presumption of access, “the item filed must

be relevant to the performance of the judicial function and useful in the judicial process in order

for it to be designated a judicial document.” Brown, 929 F.3d at 49 (citing United States v.

Amodeo, 44 F.3d 141, 145 (2d Cir. 1995)) (“Amodeo I”). If “a court determines that documents


       9
         The balance of the 800 pages (not filed under seal) included voluminous
correspondence among counsel regarding scheduling of the depositions, the entire Jeffrey
Epstein Palm Beach police report, and another deposition transcript taken in another proceeding
to which neither Plaintiff nor Ms. Maxwell were parties or participants.


                                                 20
        Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 22 of 24



filed by a party are not relevant to the performance of a judicial function, no presumption of

public access attaches.” Id.

       Case management documents “play only a negligible role in the performance of Article

III duties” and thus should be “accorded only a low presumption that amounts to little more than

a prediction of public access absent a countervailing reason.” Id. at 49-50. Whether an extension

of time is granted, or a witness is served a subpoena by alternate means, or the Court permits

additional depositions, are the type of negligible judicial duties situated far down the continuum

from adjudicating the merits of a dispositive motion. Many Article III judges, in fact, routinely

delegate such ministerial acts to magistrate judges. Items such as Notices or Joint Pretrial

Statements, essentially a recitation of the anticipated issues for trial, names of witnesses, and

defenses, do not call upon the Court to take any action and therefore also fall into the negligibly

judicial documents entitled to weak-presumption status.

       Finally, many of the documents attached to the case management pleadings are

“redundant, immaterial, impertinent, [and/]or scandalous,” were “not relevant to the performance

of the judicial function,” and therefore should be afforded no presumption of access and either

stricken or kept under seal, without the need for third parties to weigh in on privacy interests or

the further balancing of any competing interests.

 IX. CATEGORY 9: Adverse Inferences/ Sanction Motions/ Motion to Strike or
     Exclude Evidence

       As we understand Category, it captures numerous submissions by the original parties for

remedies for various alleged infractions and misconduct relating to discovery and other matters.

Plaintiff Giuffre’s counsel proposed this category. We think it is unnecessary. It is entirely

duplicative of documents that we would include in Categories 1 and 2, which consist of

discovery-related motions and motions related to the admissibility of evidence. Accordingly, we



                                                 21
         Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 23 of 24



incorporate by reference our discussion, above, of Categories 1 and 2. As contemplated by

Plaintiff’s counsel, we believe the submissions would range from non-judicial documents to

negligibly judicial documents.

                                          Conclusion
         The Court should determine that Category 4 consists of non-judicial documents that

should remain sealed. The remaining categories, which contain both non-judicial documents and

negligibly judicial documents, should be addressed in Step 2 using the standards set forth in

Brown.

Dated: September 25, 2019.

                                                 Respectfully submitted,

                                                 /s/Jeffrey S. Pagliuca
                                                 Laura A. Menninger (LM-1374)
                                                 Jeffrey S. Pagliuca (pro hac vice)
                                                 Ty Gee (pro hac vice)
                                                 Haddon, Morgan and Foreman, P.C.
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                                                 Fax: 303.832.2628
                                                 lmenninger@hmflaw.com
                                                 Attorneys for Ghislaine Maxwell




                                                22
       Case 1:15-cv-07433-LAP Document 991 Filed 09/25/19 Page 24 of 24



                               CERTIFICATE OF SERVICE

I certify that on September 25, 2019, I electronically served this Ms. Maxwell’s Brief in Support
of Maintaining Documents Under Seal via ECF on the following:
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                                                     /s/ Nicole Simmons
                                                     Nicole Simmons




                                                23
Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 1 of 48




               APPENDIX
             Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 2 of 48


Defendant Maxwell - Categories Reflected in Docket Entries:

   1. Motions to Compel and Related Motions for Protective Orders and Court Orders (“Motion to Compel”)

   2. Motions in Limine re. Admissibility of Evidence and Related Orders (“Motion in Limine re.
      Admissibility of Evidence”)

   3. Motions in Limine re. Expert Testimony and Related Orders (“Motion in Limine re. Expert”)

   4. Deposition Designations and Counter-Designations

   5. Objections to Designations and Counter-Designations

   6. Pleadings related to Third-Party Intervenors and Related Orders (“Pleadings re. Third-Party –
      Intervenors”)

   7. Pleadings related to Third-Party – Other – and Related Orders (“Pleadings re. Third-Party – Other”)

   8. Case Management Pleadings and Related Orders (“Case Management”)

   9. Evidence and Motions filed for an Improper Purpose or Subject to a Motion to Strike or Exclude
      (“Improper Purpose”)




   Date Filed   DE                 Category               Docket Text


                                                          DECLARATION of Sigrid S. McCawley in Opposition re:
                               Motion to Compel           75 MOTION to Compel Responses to Defendant's First Set
   04/04/2016    79                                       of Discovery Requests to Plaintiff filed by Virginia L.
                              Exhibit 4 Restricted        Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit,
                                                          # 4 Exhibit, # 5 Exhibit, # 6 Exhibit)


                                                          REPLY MEMORANDUM OF LAW in Support re: 96
   04/25/2016 121              Motion to Compel           MOTION for Clarification of Court's Order and For Forensic
                                                          Examination. REDACTED filed by Virginia L. Giuffre.

                                                          DECLARATION of Sigrid McCawley in Support re: 96
                                                          MOTION for Clarification of Court's Order and For Forensic
                               Motion to Compel
                                                          Examination filed by Virginia L. Giuffre. (Attachments: # 1
   04/25/2016 122                                         Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit REDACTED, #
                         Improper Purpose Ex. 4, 7, 8     5 Exhibit, # 6 Exhibit, # 7 Exhibit REDACTED, # 8 Exhibit
                                                          REDACTED)

                                                          REDACTED OPINION #106433 re: 33 MOTION to
   05/02/2016 135              Motion to Compel           Compel Defendant Ghislaine Maxwell to Produce
                                                          Documents Subject to Improper Claim of Privilege.


                                                      1
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 3 of 48




                                                  RESPONSE re: 134 Order, Redacted filed by Virginia L.
05/04/2016 139        Motion to Compel            Giuffre.



                                                  DECLARATION of Sigrid McCawley re: 139 Response,
                      Motion to Compel
                                                  DECLARATION of Sigrid McCawley in Support filed by
05/04/2016 140                                    Virginia L. Giuffre. (Attachments: # 1 Exhibit Redacted, # 2
                    Improper Purpose Ex. 1        Exhibit, # 3 Exhibit)


                      Motion to Compel
                                                  NOTICE of In Camera Submission re: 134 Order,,.
05/04/2016 141
                 Improper Purpose - In Camera     Document filed by Virginia L. Giuffre.
                          Materials


                                                  MOTION to Compel Defendant Ghislaine Maxwell to
05/05/2016 143        Motion to Compel            Answer Deposition Questions Redacted filed by Virginia L.
                                                  Giuffre.

                                                  DECLARATION of Sigrid McCawley in Support re: 143
                      Motion to Compel            MOTION to Compel Defendant Ghislaine Maxwell to
                                                  Answer Deposition Questions Redacted filed by Virginia L.
05/05/2016 144                                    Giuffre. (Attachments: # 1 Exhibit Redacted, # 2 Exhibit
                      Improper Purpose
                      Exs. 1, 2, 4, 5, 6, 7       Redacted, # 3 Exhibit, # 4 Exhibit Redacted, # 5 Exhibit
                                                  Redacted, # 6 Exhibit Redacted, # 7 Exhibit Redacted)

                                                  RESPONSE to Motion re: 143 MOTION to Compel
05/10/2016 149        Motion to Compel            Defendant Ghislaine Maxwell to Answer Deposition
                                                  Questions Redacted filed by Ghislaine Maxwell.


                                                  DECLARATION of Jeffrey S. Pagliuca in Opposition re:
                      Motion to Compel
                                                  143 MOTION to Compel Defendant Ghislaine Maxwell to
05/10/2016 150
                                                  Answer Deposition Questions Redacted filed by Ghislaine
                             Ex. A                Maxwell. (Attachments: # 1 Exhibit A)


                                                  REPLY MEMORANDUM OF LAW in Support re: 143
                                                  MOTION to Compel Defendant Ghislaine Maxwell to
05/11/2016 152        Motion to Compel            Answer Deposition Questions Redacted filed by Virginia L.
                                                  Giuffre.

                                                  DECLARATION of Sigrid McCawley in Support re: 143
                                                  MOTION to Compel Defendant Ghislaine Maxwell to
                      Motion to Compel            Answer Deposition Questions Redacted filed by Virginia L.
05/11/2016 153                                    Giuffre. (Attachments: # 1 Exhibit 1 Redacted, # 2 Exhibit 2
                    Improper Purpose Ex. 1        Part 1, # 3 Exhibit 2 Part 2, # 4 Exhibit 2 Part 3, # 5 Exhibit
                                                  3 Part 1, # 6 Exhibit 3 Part 2, # 7 Exhibit 4, # 8 Exhibit 5, #
                                                  9 Exhibit 6, # 10 Exhibit 7)

                                              2
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 4 of 48




                                                 MOTION to Compel Non-Privileged Documents filed by
05/20/2016 155       Motion to Compel            Ghislaine Maxwell.


                                                 DECLARATION of Laura A. Menninger in Support re: 155
                                                 MOTION to Compel Non- Privileged Documents filed by
                     Motion to Compel
                                                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
05/20/2016 156                                   B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E REDACTED,
                     Redacted- Ex. E, J          # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, #
                                                 10 Exhibit J REDACTED)

                                                 MOTION for Leave to Serve Three Deposition Subpoenas
05/25/2016 160       Case Management             by Means Other Than Personal Service Redacted filed by
                                                 Virginia L. Giuffre.

                                                 DECLARATION of Sigrid McCawley in Support re: 160
                                                 MOTION for Leave to Serve Three Deposition Subpoenas
                     Case Management             by Means Other Than Personal Service Redacted. Document
05/25/2016 161                                   filed by Virginia L. Giuffre. (Attachments: # 1 Composite
                   Improper Purpose Ex. 2        Exhibit 1, # 2 Exhibit 2 Redacted, # 3 Composite Exhibit 3,
                                                 # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, #
                                                 8 Exhibit 8, # 9 Composite Exhibit 9)

                                                 MOTION to Compel all Attorney-Client Communications
05/26/2016 164       Motion to Compel            and Work Product Put At Issue by Plaintiff and Her
                                                 Attorneys filed by Ghislaine Maxwell. (Menninger, Laura)

                                                 DECLARATION of Laura A. Menninger in Support re: 164
                                                 MOTION to Compel all Attorney-Client Communications
                                                 and Work Product Put At Issue by Plaintiff and Her
                     Motion to Compel            Attorneys filed by Ghislaine Maxwell. (Attachments: # 1
05/26/2016 165                                   Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                       Ex. C, H, J, K            Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                                 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                                                 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, #
                                                 17 Exhibit Q)


                                                 MOTION To Exceed Presumptive Ten Deposition Limit
05/27/2016 172       Case Management             Redacted filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Support re: 172
                                                 MOTION To Exceed Presumptive Ten Deposition Limit
                     Case Management
                                                 Redacted filed by Virginia L. Giuffre. (Attachments: # 1
05/27/2016 173                                   Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                  Improper Purpose Ex 5, 6       Exhibit 5 Redacted, # 6 Exhibit 6 Redacted, # 7 Exhibit 7
                                                 Part 1, # 8 Exhibit 7 Part 2, # 9 Exhibit 8, # 10 Exhibit 9)




                                             3
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 5 of 48



                                                  RESPONSE in Opposition to Motion re: 155 MOTION to
05/31/2016 179        Motion to Compel            Compel Non-Privileged Documents filed by Virginia L.
                                                  Giuffre.


                      Motion to Compel            DECLARATION of Meredith L. Schultz in Opposition re:
                                                  155 MOTION to Compel Non-Privileged Documents filed
05/31/2016 180                                    by Virginia L. Giuffre. (Attachments: # 1 Exhibit Redacted,
                       Ex. 1, 2, 3, 5, 6          # 2 Exhibit Redacted, # 3 Exhibit Redacted, # 4 Exhibit, # 5
                 Improper Purpose as to Ex. 6     Redacted, # 6 Redacted, # 7 Exhibit)

                                                  RESPONSE in Opposition to Motion re: 164 MOTION to
                                                  Compel all Attorney-Client Communications and Work
06/01/2016 184        Motion to Compel            Product Put At Issue by Plaintiff and Her Attorneys .
                                                  Document filed by Virginia L. Giuffre.

                                                  DECLARATION of Sigrid S. McCawley in Opposition re:
                                                  181 LETTER MOTION to Seal Document 164 MOTION to
                                                  Compel all Attorney-Client Communications and Work
                      Motion to Compel            Product Put At Issue by Plaintiff and Her Attorneys,
                                                  addressed to Judge Robert W. Sweet from Meredith Schultz
06/01/2016 185                                    dated 06/01/16 filed by Virginia L. Giuffre. (Attachments: #
                      Improper Purpose            1 Exhibit 1, # 2 Exhibit 2 Sealed, # 3 Exhibit 3 Sealed, # 4
                    Ex. 2, 3, 11, 13, 14-16       Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                                                  Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11
                                                  Sealed, # 12 Exhibit 12, # 13 Exhibit 13 Sealed, # 14 Exhibit
                                                  14 Sealed, # 15 Exhibit 15 Sealed, # 16 Exhibit 16 Sealed)

                                                  RESPONSE in Opposition to Motion re: 172 MOTION To
06/06/2016 189        Case Management             Exceed Presumptive Ten Deposition Limit Redacted filed by
                                                  Ghislaine Maxwell.


                                                  DECLARATION of Laura A. Menninger in Opposition re:
                      Case Management
                                                  172 MOTION To Exceed Presumptive Ten Deposition Limit
06/06/2016 190                                    Redacted filed by Ghislaine Maxwell. (Attachments: # 1
                            Ex. A                 Exhibit A)



                                                  REPLY to Response to Motion re: 155 MOTION to Compel
06/06/2016 191        Motion to Compel            Non-Privileged Documents, filed by Ghislaine Maxwell.



                                                  DECLARATION of Laura A. Menninger in Support re: 155
                      Motion to Compel
                                                  MOTION to Compel Non- Privileged Documents filed by
06/06/2016 192                                    Ghislaine Maxwell. (Attachments: # 1 Exhibit K, # 2 Exhibit
                         Ex. K, L, M              L, # 3 Exhibit M)




                                              4
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 6 of 48


                                                 DECLARATION of Laura A. Menninger in Support re: 164
                     Motion to Compel            MOTION to Compel all Attorney-Client Communications
06/06/2016 194                                   and Work Product Put At Issue by Plaintiff and Her
                            Ex. S                Attorneys filed by Ghislaine Maxwell. (Attachments: # 1
                                                 Exhibit Q, # 2 Exhibit R, # 3 Exhibit S)
                                                 RESPONSE in Support of Motion re: 202 LETTER
                                                 MOTION to Seal Document re Reply addressed to Judge
06/13/2016 203       Case Management             Robert W. Sweet from Meredith Schultz dated 06/13/2016.,
                                                 172 MOTION To Exceed Presumptive Ten Deposition Limit
                                                 Redacted filed by Virginia L. Giuffre.
                                                 DECLARATION of Sigrid S. McCawley in Support re: 202
                                                 LETTER MOTION to Seal Document re Reply addressed to
                     Case Management             Judge Robert W. Sweet from Meredith Schultz dated
06/13/2016 204                                   06/13/2016., 172 MOTION To Exceed Presumptive Ten
                  Improper Purpose Ex. 1-3       Deposition Limit Redacted. Document filed by Virginia L.
                                                 Giuffre. (Attachments: # 1 Exhibit 1 (Sealed), # 2 Exhibit 2
                                                 (Sealed), # 3 Exhibit 3 (Sealed)

                                                 REPLY to Response to Motion re: 172 MOTION To Exceed
06/14/2016 211       Case Management             Presumptive Ten Deposition Limit Redacted. CORRECTED
                                                 filed by Virginia L. Giuffre.


                                                 DECLARATION of Meredith L Schultz in Support re: 172
                     Case Management             MOTION To Exceed Presumptive Ten Deposition Limit
06/14/2016 212                                   Redacted filed by Virginia L. Giuffre. (Attachments: # 1
                  Improper Purpose Ex. 1-3       Exhibit SEALED, # 2 Exhibit SEALED, # 3 Exhibit
                                                 SEALED)


                                                 REPLY to Response to Motion re: 172 MOTION To Exceed
06/17/2016 224       Case Management             Presumptive Ten Deposition Limit Redacted. AMENDED
                                                 filed by Virginia L. Giuffre.



                                                 RESPONSE in Opposition to Motion re: 199 MOTION for
06/20/2016 228       Motion to Compel            Extension of Time to Complete Depositions filed by
                                                 Ghislaine Maxwell.

                                                 DECLARATION of Laura A. Menninger in Opposition re:
                                                 199 MOTION for Extension of Time to Complete
                     Motion to Compel            Depositions filed by Ghislaine Maxwell. (Attachments: # 1
06/20/2016 229                                   Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                     Ex. A, B, D, J, K, L        Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                                 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, #
                                                 13 Exhibit M, # 14 Exhibit N)


                                                 MOTION to Reopen Deposition of Plaintiff Virginia Giuffre
06/20/2016 230       Motion to Compel            filed by Ghislaine Maxwell.


                                             5
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 7 of 48



                                                     MOTION for Sanctions 37(b) & (c) for Failure to Comply
06/20/2016 231          Motion to Compel             with Court Order and Failure to Comply with Rule 26(a)
                                                     filed by Ghislaine Maxwell.

                                                     DECLARATION of Laura A. Menninger in Support re: 231
                                                     MOTION for Sanctions 37(b) & (c) for Failure to Comply
                                                     with Court Order and Failure to Comply with Rule 26(a)
                        Motion to Compel
                                                     filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
06/20/2016 232                                       Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                         Ex. G, H, I, J, K           Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                                                     Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, #
                                                     14 Exhibit N)
                                                     DECLARATION of Laura A. Menninger in Support re: 230
                                                     MOTION to Reopen Deposition of Plaintiff Virginia Giuffre
                        Motion to Compel
                                                     filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, #
06/21/2016 235                                       2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                          Ex. D-K, M-N               Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                                                     Exhibit K, # 11 Exhibit L, # 12 Exhibit M, # 13 Exhibit N)

                                                     RESPONSE in Opposition to Motion re: 215 MOTION to
06/22/2016 246          Motion to Compel             Quash subpoena of Sharon Churcher filed by Ghislaine
                                                     Maxwell.


                                                     DECLARATION of Laura A. Menninger in Opposition re:
                        Motion to Compel
                                                     215 MOTION to Quash subpoena of Sharon Churcher filed
06/22/2016 247                                       by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                             Ex. B-C                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)


                                                     REPLY MEMORANDUM OF LAW in Support re: 199
06/22/2016 248          Motion to Compel             MOTION for Extension of Time to Complete Depositions.
                                                     REDACTED filed by Virginia L. Giuffre.

                                                 DECLARATION of Sigrid McCawley in Support re: 199
                                                 MOTION for Extension of Time to Complete Depositions
                       Motion to Compel          filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2
06/22/2016 249                                   Exhibit, # 3 Exhibit, # 4 Exhibit REDACTED, # 5 Exhibit, #
                 Improper Purpose - Ex. 4, 13-15 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit,
                                                 # 11 Exhibit, # 12 Exhibit, # 13 Exhibit REDACTED, # 14
                                                 Exhibit REDACTED, # 15 Exhibit REDACTED)

                                                     RESPONSE in Opposition to Motion re: 231 MOTION for
                                                     Sanctions 37(b) & (c) for Failure to Comply with Court
06/28/2016 257          Motion to Compel             Order and Failure to Comply with Rule 26(a). REDACTED
                                                     filed by Virginia L. Giuffre.




                                                 6
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 8 of 48


                                                  DECLARATION of Sigrid McCawley in Opposition re: 231
                                                  MOTION for Sanctions 37(b) & (c) for Failure to Comply
                                                  with Court Order and Failure to Comply with Rule 26(a)
                      Motion to Compel            filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
06/28/2016 258                                    REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit
                  Improper Purpose Ex. 1-10       REDACTED, # 4 Exhibit REDACTED, # 5 Exhibit
                                                  REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit
                                                  REDACTED, # 8 Exhibit REDACTED, # 9 Exhibit
                                                  REDACTED, # 10 Errata REDACTED)

                                                  RESPONSE in Opposition to Motion re: 230 MOTION to
06/28/2016 259        Motion to Compel            Reopen Deposition of Plaintiff Virginia Giuffre. REDACTED
                                                  filed by Virginia L. Giuffre.


                                                  DECLARATION of Sigrid McCawley in Opposition re: 230
                      Motion to Compel
                                                  MOTION to Reopen Deposition of Plaintiff Virginia Giuffre
06/28/2016 260                                    filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                  Improper Purpose Ex. 1-2        REDACTED, # 2 Exhibit REDACTED)


                                                  RESPONSE in Opposition to Motion re: 231 MOTION for
                                                  Sanctions 37(b) & (c) for Failure to Comply with Court
07/01/2016 261        Motion to Compel            Order and Failure to Comply with Rule 26(a). REDACTED-
                                                  CORRECTED filed by Virginia L. Giuffre.


                                                  REPLY MEMORANDUM OF LAW in Support re: 215
07/05/2016 263        Motion to Compel            MOTION to Quash subpoena of Sharon Churcher filed by
                                                  Sharon Churcher. (Feder, Eric) (07/05/2016)



                                                  NOTICE of FILING REDACTED OPINION filed by
07/05/2016 264        Motion to Compel            Virginia L. Giuffre. (Attachments: # 1 Text of Proposed
                                                  Order Proposed Redacted Opinion)



                                                  REPLY to Response to Motion re: 230 MOTION to Reopen
07/08/2016 267        Motion to Compel            Deposition of Plaintiff Virginia Giuffre filed by Ghislaine
                                                  Maxwell.


                                                  DECLARATION of Laura A. Menninger in Support re: 230
                      Motion to Compel
                                                  MOTION to Reopen Deposition of Plaintiff Virginia Giuffre
07/08/2016 268                                    filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit O, # 2
                          Ex. O-P                 Exhibit P)




                                              7
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 9 of 48



                                                      REPLY to Response to Motion re: 231 MOTION for
                                                      Sanctions 37(b) & (c) for Failure to Comply with Court
07/08/2016 269           Motion to Compel             Order and Failure to Comply with Rule 26(a) filed by
                                                      Ghislaine Maxwell.

                                                      DECLARATION of Laura A. Menninger in Support re: 231
                                                      MOTION for Sanctions 37(b) & (c) for Failure to Comply
                         Motion to Compel
                                                      with Court Order and Failure to Comply with Rule 26(a)
07/08/2016 270                                        filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit O, # 2
                             Ex. O-R, T               Exhibit P, # 3 Exhibit Q, # 4 Exhibit R, # 5 Exhibit S, # 6
                                                      Exhibit T)
                                                      LETTER MOTION for Leave to File Sur-Reply addressed to
                                                      Judge Robert W. Sweet from Sigrid McCawley dated July
                                                      12, 2016 filed by Virginia L. Giuffre. (Attachments: # 1
                         Motion to Compel             Exhibit REDACTED Sur-Reply, # 2 Exhibit REDACTED
07/12/2016 272                                        Declaration, # 3 Exhibit REDACTED Exhibit 1, # 4 Exhibit
                     Improper Purpose Ex. 1-8         REDACTED Exhibit 2, # 5 Exhibit REDACTED Exhibit 3,
                                                      # 6 Exhibit REDACTED Exhibit 4, # 7 Exhibit REDACTED
                                                      Exhibit 5, # 8 Exhibit REDACTED Exhibit 6, # 9 Exhibit
                                                      REDACTED Exhibit 7, # 10 Exhibit REDACTED Exhibit 8)


                        Improper Purpose            MOTION for Sanctions Motion for Adverse Inference
07/13/2016 279
                 (Motion to Strike filed at DE 288) Instruction REDACTED filed by Virginia L. Giuffre.


                        Improper Purpose            DECLARATION of Meredith Schultz in Support re: 279
                                                    MOTION for Sanctions Motion for Adverse Inference
                 (Motion to Strike filed at DE 288)
07/13/2016 280                                        Instruction REDACTED filed by Virginia L. Giuffre.
                                                      (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit
                               Ex. 1-2                REDACTED, # 3 Exhibit)
                                                    LETTER RESPONSE in Opposition to Motion addressed to
                                                    Judge Robert W. Sweet from Meredith Schultz dated July 18,
                                                    2016 re: 288 LETTER MOTION for Discovery to Strike
                        Improper Purpose            Plaintiff Virginia Giuffre's Motion for an Adverse Inference
07/18/2016 290
                 (Motion to Strike filed at DE 288) Instruction Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P
                                                    addressed to Judge Robert W. Sweet from Laura A.
                                                    Menninger dated June 15, 201 REDACTED filed by Virginia
                                                    L. Giuffre.
                                                    DECLARATION of Meredith Schultz in Opposition re: 288
                                                    LETTER MOTION for Discovery to Strike Plaintiff Virginia
                        Improper Purpose            Giuffre's Motion for an Adverse Inference Instruction
                 (Motion to Strike filed at DE 288) Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P addressed to
07/18/2016 291                                      Judge Robert W. Sweet from Laura A. Menninger dated June
                              Ex. 1-3               15, 201 filed by Virginia L. Giuffre. (Attachments: # 1
                                                    Exhibit REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit
                                                    REDACTED)
                                                      REPLY to Response to Motion re: 272 LETTER MOTION
                                                      for Leave to File Sur-Reply addressed to Judge Robert W.
07/25/2016 303           Motion to Compel             Sweet from Sigrid McCawley dated July 12, 2016.
                                                      Defendant's Sur Sur-Reply In Support of Motion for Rule
                                                      37(b) & (c) Sanctions filed by Ghislaine Maxwell.

                                                  8
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 10 of 48


                                                   DECLARATION of Laura A. Menninger in Support re: 231
                       Motion to Compel            MOTION for Sanctions 37(b) & (c) for Failure to Comply
07/25/2016 304                                     with Court Order and Failure to Comply with Rule 26(a)
                            Ex. U-X                filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit U, # 2
                                                   Exhibit V, # 3 Exhibit W, # 4 Exhibit X)


                                                   MOTION for Extension of Time to Complete Discovery to
07/25/2016 306         Case Management             Serve and Depose Ross Gow filed by Virginia L. Giuffre.


                                                   DECLARATION of Meredith Schultz in Support re: 306
                                                   MOTION for Extension of Time to Complete Discovery to
                       Case Management
                                                   Serve and Depose Ross Gow filed by Virginia L. Giuffre.
07/25/2016 307                                     (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                            Ex. 7-8                Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit REDACTED, #
                                                   8 Exhibit REDACTED, # 9 Exhibit)
                                                   DECLARATION of Meredith Schultz in Support re: 308
                                                   MOTION for Sanctions and finding Civil Contempt against
07/25/2016 309   Pleadings re. Third-Party-Other   Sarah Kellen for Ignoring Subpoena filed by Virginia L.
                                                   Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit,
                                                   # 4 Exhibit, # 5 Exhibit)
                                                   DECLARATION of Meredith Schultz in Support re: 310
                                                   MOTION for Sanctions and for Finding of Civil Contempt
07/25/2016 311                                     Against Nadia Marcinkova for Ignoring Subpoena filed by
                 Pleadings re. Third-Party-Other   Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, #
                                                   3 Exhibit, # 4 Exhibit, # 5 Exhibit)


                                                   NOTICE of Supplemental Authority re: 257 Response in
07/29/2016 313         Motion to Compel            Opposition to Motion filed by Virginia L. Giuffre.
                                                   (Attachments: # 1 Exhibit REDACTED)


                                                   FILING ERROR – WRONG EVENT TYPE
                                                   SELECTED FROM MENU – MOTION to Compel and
07/29/2016 315         Motion to Compel            Motion to Enforce the Court’s Order and Direct Defendant to
                                                   Answer Deposition Questions filed by Virginia L. Giuffre.
                                                   Modified on 8/10/2016.
                                                   FILING ERROR - DEFICIENT DOCKET ENTRY -
                                                   DECLARATION of Meredith Schultz in Support re: 315
                                                   MOTION to Compel and Motion to Enforce the Court's
                                                   Order and Direct Defendant to Answer Deposition
                       Motion to Compel
                                                   Questions filed by Virginia L. Giuffre. (Attachments: # 1
07/29/2016 316                                     Exhibit REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit
                   Improper Purpose Ex. 1-8        REDACTED, # 4 Exhibit REDACTED, # 5 Exhibit
                                                   REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit
                                                   REDACTED, # 8 Exhibit REDACTED) Modified on
                                                   8/10/2016.




                                              9
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 11 of 48



                                                     MOTION Defendant's Submission Regarding "Search
                                                     Terms" And Notice Of Compliance With Court Order
08/01/2016 320          Motion to Compel             Concerning Forensic Examination Of Devices filed by
                                                     Ghislaine Maxwell.

                                                     DECLARATION of Laura A. Menninger in Support re: 320
                                                     MOTION Defendant's Submission Regarding "Search
                        Motion to Compel
                                                     Terms" And Notice Of Compliance With Court Order
08/01/2016 321                                       Concerning Forensic Examination Of Devices filed by
                              Ex. A-F                Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                     B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)
                                                     MOTION for Protective Order and Motion for the Court to
                                                     Direct Defendant to Disclose All Individuals to whom
08/08/2016 335          Motion to Compel             Defendant has Disseminated Confidential Information.
                                                     Document filed by Virginia L. Giuffre.
                                                    DECLARATION of Sigrid McCawley in Support re: 335
                                                    MOTION for Protective Order and Motion for the Court to
                        Motion to Compel            Direct Defendant to Disclose All Individuals to whom
08/08/2016 336                                      Defendant has Disseminated Confidential Information filed
                              Ex. 1-3               by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                                                    REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit
                                                    REDACTED)
                                                    MEMORANDUM OF LAW in Support re: 279 MOTION
                                                    for Sanctions Motion for Adverse Inference Instruction
                                                    REDACTED. Supplement Based on New Information filed by
                   Motion to Compel / Improper Virginia L. Giuffre. (Attachments: # 1 REDACTED
08/08/2016 338               Purpose                DECLARATION, # 2 Exhibit REDACTED, # 3 Exhibit
                 (Motion to Strike filed at DE 353) REDACTED, # 4 Exhibit REDACTED, # 5 Exhibit
                                                    REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit
                                                    REDACTED, # 8 Exhibit REDACTED, # 9 Exhibit
                                                    REDACTED, # 10 Exhibit REDACTED)

                                                     RESPONSE in Opposition to Motion re: 315 MOTION to
                                                     Compel and Motion to Enforce the Court's Order and Direct
08/08/2016 339          Motion to Compel             Defendant to Answer Deposition Questions filed by
                                                     Ghislaine Maxwell.

                                                     DECLARATION of Jeffrey S. Pagliuca in Opposition re:
                                                     315 MOTION to Compel and Motion to Enforce the Court's
                        Motion to Compel             Order and Direct Defendant to Answer Deposition
08/08/2016 340                                       Questions filed by Ghislaine Maxwell. (Attachments: # 1
                            Ex. A, C-I               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                                                     Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                                     Exhibit I)

                                                     MOTION to Compel Defendant to Produce Documents
08/09/2016 345          Motion to Compel             Subject to Improper Objection and Improper Claim of
                                                     Privilege filed by Virginia L. Giuffre.




                                                10
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 12 of 48


                                                     DECLARATION of Meredith Schultz in Support re: 345
                                                     MOTION to Compel Defendant to Produce Documents
                        Motion to Compel             Subject to Improper Objection and Improper Claim of
08/09/2016 346                                       Privilege filed by Virginia L. Giuffre. (Attachments: # 1
                              Ex. 1-5                Exhibit REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit
                                                     REDACTED, # 4 Exhibit REDACTED, # 5 Exhibit
                                                     REDACTED)

                                                     MOTION to Strike Document No. [338, and all supporting
                                                     documents] to Plaintiff's Supplement to Motion for Adverse
08/10/2016 353          Motion to Compel             Inference Instruction Based on New Information filed by
                                                     Ghislaine Maxwell.


                                                     MOTION to Compel Responses to Defendant's Second Set of
08/10/2016 354          Motion to Compel             Discovery Requests to Plaintiff, and for Sanctions filed by
                                                     Ghislaine Maxwell.


                                                     DECLARATION of Laura A. Menninger in Support re: 354
                        Motion to Compel             MOTION to Compel Responses to Defendant's Second Set of
08/10/2016 355                                       Discovery Requests to Plaintiff, and for Sanctions filed by
                               Ex. B                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                     B)

                                                     MOTION to Direct DEFENDANT TO ANSWER
08/11/2016 356          Motion to Compel             DEPOSITION QUESTIONS FILED UNDER SEAL filed by
                                                     Virginia L. Giuffre.
                                                FILING ERROR - WRONG EVENT TYPE SELECTED
                                                FROM MENU - MOTION to Direct DEFENDANT TO
                                                ANSWER DEPOSITION QUESTIONS [SCHULTZ
                        Motion to Compel
                                                DECLARATION ISO_DE 356_MOTION] filed by Virginia
08/11/2016 357                                  L. Giuffre. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2
                    Improper Purpose Ex. 1-8    (Sealed), # 3 Exhibit 3 (Sealed), # 4 Exhibit 4 (Sealed), # 5
                                                Exhibit 5 (Sealed), # 6 Exhibit 6 (Sealed), # 7 Exhibit 7
                                                (Sealed), # 8 Exhibit 8 (Sealed)) Modified on 8/12/2016
                                                DECLARATION of Alan M. Dershowitz in Support re: 362
                                                MOTION to Intervene. MOTION to Unseal Document or in
                     Pleadings re. Third-Party  the Alternative to Modify Protective Order. Document filed
                            Intervenors         by Alan M. Dershowitz. (Attachments: # 1 Exhibit A, # 2
08/11/2016 363                                  Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                 Improper Purpose Ex. A-B, G, M Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                                                Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, #
                                                14 Exhibit N) (Celli, Andrew)

                                                     MEMORANDUM OF LAW in Support re: 362 MOTION to
                    Pleadings Re. Third-Party        Intervene. MOTION to Unseal Document or in the
08/11/2016 364                                       Alternative to Modify Protective Order filed by Alan M.
                           Intervenors
                                                     Dershowitz. (Celli, Andrew)




                                                11
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 13 of 48


                                                 DECLARATION of Meredith Schultz in Support re: 357
                                                 MOTION to Direct DEFENDANT TO ANSWER
                                                 DEPOSITION QUESTIONS [SCHULTZ DECLARATION
                                                 ISO_DE 356_MOTION]., 315 MOTION to Compel and
                       Motion to Compel          Motion to Enforce the Court's Order and Direct Defendant
                                                 to Answer Deposition Questions., 356 MOTION to Direct
08/12/2016 367
                   Improper Purpose - Ex. 1-8    DEFENDANT TO ANSWER DEPOSITION QUESTIONS
                                                 FILED UNDER SEAL.. Document filed by Virginia L.
                                                 Giuffre. (Attachments: # 1 Exhibit 1 (Sealed), # 2 Exhibit 2
                                                 (Sealed), # 3 Exhibit 3 (Sealed), # 4 Exhibit 4 (Sealed), # 5
                                                 Exhibit 5 (Sealed), # 6 Exhibit 6 (Sealed), # 7 Exhibit 7
                                                 (Sealed), # 8 Exhibit 8 (Sealed)
                                                 REPLY MEMORANDUM OF LAW in Support re: 315
                                                 MOTION to Compel and Motion to Enforce the Court's
                                                 Order and Direct Defendant to Answer Deposition
                                                 Questions., 357 MOTION to Direct DEFENDANT TO
                       Motion to Compel
08/12/2016 368                                   ANSWER DEPOSITION QUESTIONS [SCHULTZ
                                                 DECLARATION ISO_DE 356_MOTION], 356 MOTION to
                                                 Direct DEFENDANT TO ANSWER DEPOSITION
                                                 QUESTIONS FILED UNDER SEAL.. Document filed by
                                                 Virginia L. Giuffre.
                                                 DECLARATION of Sigrid McCawley in Support re: 357
                                                 MOTION to Direct DEFENDANT TO ANSWER
                                                 DEPOSITION QUESTIONS [SCHULTZ DECLARATION
                                                 ISO_DE 356_MOTION] filed by Virginia L. Giuffre.
                       Motion to Compel          (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit
                                                 REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
08/12/2016 369                                   REDACTED, # 5 Exhibit REDACTED, # 6 Exhibit
                            Ex. 1-16             REDACTED, # 7 Exhibit REDACTED, # 8 Exhibit
                 Improper Purpose as to Ex. 2-16 REDACTED, # 9 Exhibit REDACTED, # 10 Exhibit
                                                 REDACTED, # 11 Exhibit REDACTED, # 12 Exhibit
                                                 REDACTED, # 13 Exhibit REDACTED, # 14 Exhibit
                                                 REDACTED, # 15 Exhibit REDACTED, # 16 Exhibit
                                                 REDACTED)

                        Motion to Compel             MOTION for Protective Order (REDACTED) Regarding
08/12/2016 370                                       Personal Financial Information filed by Ghislaine Maxwell.
                              Ex. C                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)


                                                     DECLARATION of Laura A. Menninger in Support re: 370
                        Motion to Compel
                                                     MOTION for Protective Order (REDACTED) Regarding
08/12/2016 371                                       Personal Financial Information filed by Ghislaine Maxwell.
                              Ex. C                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)


                                                     RESPONSE in Opposition to Motion re: 354 MOTION to
                        Motion to Compel             Compel Responses to Defendant's Second Set of Discovery
08/17/2016 378                                       Requests to Plaintiff, and for Sanctions filed by Virginia L.
                                                     Giuffre.




                                                12
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 14 of 48


                                               DECLARATION of Sigrid McCawley in Opposition re: 354
                                               MOTION to Compel Responses to Defendant's Second Set of
                       Motion to Compel
                                               Discovery Requests to Plaintiff, and for Sanctions filed by
08/17/2016 379                                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Redacted, # 2
                           Ex.1, 3-6           Exhibit, # 3 Exhibit Redacted, # 4 Exhibit Redacted, # 5
                                               Exhibit Redacted, # 6 Exhibit Redacted)
                                               RESPONSE in Opposition to Motion re: 335 MOTION for
                                               Protective Order and Motion for the Court to Direct
             380
08/18/2016             Motion to Compel        Defendant to Disclose All Individuals to whom Defendant
                                               has Disseminated Confidential Information filed by
                                               Ghislaine Maxwell.
                                               DECLARATION of Laura A. Menninger in Opposition re:
                                               335 MOTION for Protective Order and Motion for the Court
                       Motion to Compel        to Direct Defendant to Disclose All Individuals to whom
08/18/2016 381                                 Defendant has Disseminated Confidential Information filed
                           Ex. A-H             by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                                               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5


                                               RESPONSE in Opposition to Motion re: 345 MOTION to
                       Motion to Compel        Compel Defendant to Produce Documents Subject to
08/19/2016 383                                 Improper Objection and Improper Claim of Privilege filed by
                                               Ghislaine Maxwell.

                                               DECLARATION of Laura A. Menninger in Opposition re:
                       Motion to Compel        345 MOTION to Compel Defendant to Produce Documents
08/19/2016 384                                 Subject to Improper Objection and Improper Claim of
                            Ex. A              Privilege filed by Ghislaine Maxwell. (Attachments: # 1
                                               Exhibit A, # 2 Exhibit B, # 3 Exhibit C)

                                               DECLARATION of REDACTED in Opposition re: 345
                       Motion to Compel        MOTION to Compel Defendant to Produce Documents
08/19/2016 385                                 Subject to Improper Objection and Improper Claim of
                                               Privilege filed by Ghislaine Maxwell.


                                               DECLARATION of REDACTED in Opposition re: 345
                       Motion to Compel        MOTION to Compel Defendant to Produce Documents
08/19/2016 386                                 Subject to Improper Objection and Improper Claim of
                                               Privilege filed by Ghislaine Maxwell.


                                               DECLARATION of REDACTED in Opposition re: 345
                       Motion to Compel        MOTION to Compel Defendant to Produce Documents
08/19/2016 387                                 Subject to Improper Objection and Improper Claim of
                                               Privilege filed by Ghislaine Maxwell.


                                               RESPONSE in Opposition to Motion re: 370 MOTION for
08/22/2016 388         Motion to Compel        Protective Order (REDACTED) Regarding Personal
                                               Financial Information filed by Virginia L. Giuffre.



                                          13
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 15 of 48


                                                      DECLARATION of Sigrid McCawley in Opposition re: 370
                                                      MOTION for Protective Order (REDACTED) Regarding
                                                      Personal Financial Information filed by Virginia L. Giuffre.
                        Motion to Compel
                                                      (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit
08/22/2016 389                                        REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
                    Improper Purpose Ex. 1-9          REDACTED, # 5 Exhibit REDACTED, # 6 Exhibit
                                                      REDACTED, # 7 Exhibit REDACTED, # 8 Exhibit
                                                      REDACTED, # 9 Exhibit REDACTED)
                                                      REPLY MEMORANDUM OF LAW in Support re: 335
                  Motion to Compel / Improper MOTION for Protective Order and Motion for the Court to
08/23/2016 392   Purpose (Motion to Strike filed at Direct Defendant to Disclose All Individuals to whom
                            DE 400)                 Defendant has Disseminated Confidential Information filed
                                                      by Virginia L. Giuffre.
                                                      DECLARATION of Sigrid McCawley in Support re: 335
                  Motion to Compel / Improper MOTION for Protective Order and Motion for the Court to
                 Purpose (Motion to Strike filed at Direct Defendant to Disclose All Individuals to whom
08/23/2016 393              DE 400)                 Defendant has Disseminated Confidential Information filed
                                                      by Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite
                              Ex. 1-4                 Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3, # 4
                                                      Exhibit Sealed 4)

                                                      REPLY MEMORANDUM OF LAW in Support re: 345
                        Motion to Compel              MOTION to Compel Defendant to Produce Documents
08/24/2016 397                                        Subject to Improper Objection and Improper Claim of
                                                      Privilege filed by Virginia L. Giuffre.

                                                      DECLARATION of Sigrid McCawley in Support re: 345
                                                      MOTION to Compel Defendant to Produce Documents
                        Motion to Compel              Subject to Improper Objection and Improper Claim of
08/24/2016 398                                        Privilege filed by Virginia L. Giuffre. (Attachments: # 1
                    Improper Purpose - Ex. 1-5        Exhibit Sealed Exhibit 1, # 2 Exhibit Sealed Exhibit 2, # 3
                                                      Exhibit Sealed Exhibit 3, # 4 Exhibit Sealed Exhibit 4, # 5
                                                      Exhibit Sealed Exhibit 5)

                  Motion to Compel / Improper MOTION for Leave to File A Sur-Reply or, Alternatively, to
08/25/2016 400   Purpose (Motion to Strike filed at Strike Plaintiff's Misrepresentations of Fact to the Court
                            DE 400)                 filed by Ghislaine Maxwell. [DE 370]


                  Motion to Compel / Improper         DECLARATION of Laura A. Menninger in Support re: 400
                                                      MOTION for Leave to File A Sur-Reply or, Alternatively, to
                 Purpose (Motion to Strike filed at
                                                      Strike Plaintiff's Misrepresentations of Fact to the Court filed
08/25/2016 401              DE 400)                   by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                                                      Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                              Ex. A-F                 Exhibit F)

                                                      REPLY MEMORANDUM OF LAW in Support re: 354
                                                      MOTION to Compel Responses to Defendant's Second Set of
08/25/2016 402          Motion to Compel              Discovery Requests to Plaintiff, and for Sanctions. .
                                                      Document filed by Ghislaine Maxwell.




                                                14
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 16 of 48


                                                   DECLARATION of Laura A. Menninger in Support re: 354
                       Motion to Compel            MOTION to Compel Responses to Defendant's Second Set of
08/25/2016 403                                     Discovery Requests to Plaintiff, and for Sanctions filed by
                             Ex. C                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                   B, # 3 Exhibit C)


                                                   REPLY to Response to Motion re: 370 MOTION for
08/29/2016 404         Motion to Compel            Protective Order (REDACTED) Regarding Personal
                                                   Financial Information filed by Ghislaine Maxwell.


                                                   DECLARATION of Laura A. Menninger in Support re: 370
                       Motion to Compel
                                                   MOTION for Protective Order (REDACTED) Regarding
08/29/2016 405                                     Personal Financial Information filed by Ghislaine Maxwell.
                             Ex. D                 (Attachments: # 1 Exhibit D)


                                                   RESPONSE in Opposition to Motion re: 362 MOTION to
                  Pleadings re. Third Parties –    Intervene. MOTION to Unseal Document or in the
08/29/2016 406
                           Intervene               Alternative to Modify Protective Order. Document filed by
                                                   Virginia L. Giuffre.

                                                   DECLARATION of Sigrid McCawley in Opposition re: 362
                                                   MOTION to Intervene. MOTION to Unseal Document or in
                  Pleadings re. Third Parties -    the Alternative to Modify Protective Order. Document filed
                                                   by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2
                           Intervene
08/29/2016 407                                     Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7
                                                   Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit,
                            Ex. 1-23               # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16
                                                   Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20
                                                   Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit)

                  Pleadings re. Third Parties -    DECLARATION of Paul Cassell in Opposition re: 362
                                                   MOTION to Intervene. MOTION to Unseal Document or in
                           Intervene
08/29/2016 408                                     the Alternative to Modify Protective Order filed by Virginia
                                                   L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                            Ex. 1-4                Exhibit, # 4 Exhibit)

                                                   DECLARATION of Laura A. Menninger in Support re: 422
                       Motion to Compel
                                                   MOTION to Compel Settlement Agreement (Renewed) filed
09/06/2016 423                                     by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                            Ex. A-D                Exhibit B, # 3 Exhibit C, # 4 Exhibit D)

                                                   DECLARATION of Alan M. Dershowitz in Support re: 362
                                                   MOTION to Intervene. MOTION to Unseal Document or in
                  Pleadings re. Third Parties –    the Alternative to Modify Protective Order. Document filed
09/15/2016 435             Intervene               by Alan M. Dershowitz. (Attachments: # 1 Exhibit O, # 2
                                                   Exhibit P, # 3 Exhibit Q, # 4 Exhibit R, # 5 Exhibit S, # 6
                                                   Exhibit T, # 7 Exhibit U, # 8 Exhibit V, # 9 Exhibit W, # 10
                                                   Exhibit X) (Celli, Andrew)




                                              15
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 17 of 48



                                                       REPLY MEMORANDUM OF LAW in Support re: 362
                    Pleadings re. Third Parties –      MOTION to Intervene. MOTION to Unseal Document or in
09/15/2016 436                                         the Alternative to Modify Protective Order filed by Alan M.
                             Intervene
                                                       Dershowitz. (Celli, Andrew)


                                                       NOTICE of Filing Proposed Redacted Opinion filed by
09/20/2016 440          Motions to Compel              Sharon Churcher. (Attachments: # 1 Exhibit Proposed
                                                       Redacted Opinion) (Feder, Eric)



                                                       MOTION for Discovery for Court Approval of Plaintiff's
09/21/2016 441           Motion to Compel              Certification of Production filed by Virginia L. Giuffre.


                                                       DECLARATION of Sigrid McCawley in Support re: 441
                         Motion to Compel              MOTION for Discovery for Court Approval of Plaintiff's
09/21/2016 442                                         Certification of Production filed by Virginia L. Giuffre.
                              Ex. 2-5                  (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 Sealed, # 3
                                                       Exhibit 3 Sealed, # 4 Exhibit 4 Sealed, # 5 Exhibit 5 Sealed)
                                                       LETTER RESPONSE to Motion addressed to Judge Robert
                                                       W. Sweet from Sigrid S. McCawley dated September 28,
                                                       2016 re: 444 LETTER MOTION for Leave to File a less-
                    Pleadings re. Third Parties –
09/28/2016 447                                         redacted version of Professor Dershowitz’s Reply
                             Intervene                 Declaration addressed to Judge Robert W. Sweet from
                                                       Andrew G. Celli dated 9/26/2016 filed by Virginia L.
                                                       Giuffre.


                                                       MOTION to Compel Testimony of Jeffrey Epstein filed by
09/30/2016 449   Pleadings re. Third Parties – Other
                                                       Ghislaine Maxwell.



                 Pleadings re. Third Parties – Other DECLARATION of Jeffrey S. Pagliuca in Support re: 449
                                                       MOTION to Compel Testimony of Jeffrey Epstein filed by
09/30/2016 450                                         Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                           Ex. A-C, E-F                B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)


                                                       MOTION to Reopen Defendant's Deposition Based on
                         Motion to Compel
10/14/2016 466                                         Defendant's Late Production of New, Key Documents filed by
                                                       Virginia L. Giuffre.

                                                       DECLARATION of Sigrid McCawley in Support re: 466
                                                       MOTION to Reopen Defendant's Deposition Based on
                         Motion to Compel
                                                       Defendant's Late Production of New, Key Documents filed by
10/14/2016 467                                         Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                     Improper Purpose Ex. 1-3          Composite, # 2 Exhibit Sealed Composite, # 3 Exhibit
                                                       Sealed)

                                                16
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 18 of 48



                                                       MOTION to Compel Ghislaine Maxwell to Produce Data
10/14/2016 468
                         Motion to Compel              from Undisclosed Email Account and for an Adverse
10/14/2016                                             Inference Instruction filed by Virginia L. Giuffre.

                                                       DECLARATION of Sigrid McCawley in Support re: 468
                                                       MOTION to Compel Ghislaine Maxwell to Produce Data
                         Motion to Compel
                                                       from Undisclosed Email Account and for an Adverse
09/06/2016 469                                         Inference Instruction filed by Virginia L. Giuffre.
                     Improper Purpose Ex. 1-3          (Attachments: # 1 Exhibit Sealed Exhibit 1, # 2 Exhibit
                                                       Sealed Composite Exhibit 2, # 3 Exhibit Sealed Exhibit 3)


                                                       RESPONSE to Motion re: 449 MOTION to Compel
10/17/2016 470   Pleadings re. Third Parties – Other
                                                       Testimony of Jeffrey Epstein filed by Virginia L. Giuffre.



                 Pleadings re. Third Parties – Other DECLARATION of Sigrid McCawley in Support re: 449
                                                       MOTION to Compel Testimony of Jeffrey Epstein filed by
10/17/2016 471                                         Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                                Ex. 1                  Composite)


                                                     RESPONSE in Opposition to Motion re: 449 MOTION to
10/17/2016 473   Pleadings re. Third Parties – Other Compel Testimony of Jeffrey Epstein filed by Jeffrey Epstein.
                                                     (Goldberger, Jack)



                                                       DECLARATION of Jack Goldberger in Opposition re: 449
10/17/2016 474   Pleadings re. Third Parties – Other MOTION to Compel Testimony of Jeffrey Epstein filed by
                                                       Jeffrey Epstein. (Goldberger, Jack)


                                                       RESPONSE in Opposition to Motion re: 468 MOTION to
                                                       Compel Ghislaine Maxwell to Produce Data from
10/24/2016 479           Motion to Compel
                                                       Undisclosed Email Account and for an Adverse Inference
                                                       Instruction, filed by Ghislaine Maxwell.

                                                       DECLARATION of Laura A. Menninger in Opposition re:
                                                       468 MOTION to Compel Ghislaine Maxwell to Produce
                         Motion to Compel
                                                       Data from Undisclosed Email Account and for an Adverse
10/24/2016 480                                         Inference Instruction filed by Ghislaine Maxwell.
                              Ex. A-D                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                                                       4 Exhibit D)

                                                       RESPONSE in Opposition to Motion re: 466 MOTION to
                         Motion to Compel              Reopen Defendant's Deposition Based on Defendant's Late
10/24/2016 481                                         Production of New, Key Documents filed by Ghislaine
                                                       Maxwell.



                                                 17
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 19 of 48


                                                     DECLARATION of Laura A. Menninger in Opposition re:
                         Motion to Compel            466 MOTION to Reopen Defendant's Deposition Based on
10/24/2016 482                                       Defendant's Late Production of New, Key Documents filed by
                              Ex. A-E                Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                     B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)


                         Motion to Compel            REPLY to Response to Motion re: 449 MOTION to Compel
10/24/2016 483                                       Testimony of Jeffrey Epstein, filed by Ghislaine Maxwell.



                                                     REPLY to Response to Motion re: 468 MOTION to Compel
                                                     Ghislaine Maxwell to Produce Data from Undisclosed Email
10/28/2016 490           Motion to Compel            Account and for an Adverse Inference Instruction.
                                                     REDACTED filed by Virginia L. Giuffre.

                                                     DECLARATION of Meredith Schultz in Support re: 468
                                                     MOTION to Compel Ghislaine Maxwell to Produce Data
                         Motion to Compel
                                                     from Undisclosed Email Account and for an Adverse
10/28/2016 491                                       Inference Instruction filed by Virginia L. Giuffre.
                               Ex. 2-4               (Attachments: # 1 Exhibit, # 2 Exhibit REDACTED, # 3
                                                     Exhibit REDACTED, # 4 Exhibit REDACTED)

                                                     REPLY to Response to Motion re: 466 MOTION to Reopen
                         Motion to Compel            Defendant's Deposition Based on Defendant's Late
10/28/2016 492                                       Production of New, Key Documents. REDACTED filed by
                                                     Virginia L. Giuffre.


                                                     DECLARATION of Meredith Schultz in Support re: 466
                         Motion to Compel
                                                     MOTION to Reopen Defendant's Deposition Based on
10/28/2016 493                                       Defendant's Late Production of New, Key Documents filed by
                      Improper Purpose Ex. 1         Virginia L. Giuffre. (Attachments: # 1 Exhibit REDACTED)

                                                     [REDACTED] SEALED OPINION # 106882 re: 215
                                                     MOTION to Quash subpoena of Sharon Churcher, filed by
                                                     Sharon Churcher. Upon the conclusions set forth above, the
                                                     motion of Churcher is granted and the Subpoena is quashed.
11/21/2016 503           Motion to Compel            The parties are directed to jointly file a proposed redacted
                                                     version of this Opinion consistent with the Protective Order
                                                     or notify the Court that none are necessary within two weeks
                                                     of the date of receipt of this Opinion. (9/1/16) (cla)


                 Motion in Limine re. Admissibility MOTION for Sanctions Based on Plaintiff's Intentional
12/09/2016 509                                      Destruction of Evidence filed by Ghislaine Maxwell.
                            of Evidence


                 Motion in Limine re. Admissibility DECLARATION of Laura A. Menninger in Support re: 509
                                                    MOTION for Sanctions Based on Plaintiff's Intentional
                            of Evidence
12/09/2016 510                                       Destruction of Evidence filed by Ghislaine Maxwell.
                                                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                              Ex. A-D                4 Exhibit D)
                                                18
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 20 of 48



                                                      RESPONSE in Opposition to Motion re: 509 MOTION for
12/16/2016 513   Motion in Limine re. Admissibility
                                                    Sanctions Based on Plaintiff's Intentional Destruction of
12/16/2016                  of Evidence             Evidence filed by Virginia L. Giuffre.

                                                      DECLARATION of Meredith Schultz in Opposition re: 509
                 Motion in Limine re. Admissibility MOTION for Sanctions Based on Plaintiff's Intentional
                            of Evidence             Destruction of Evidence filed by Virginia L. Giuffre.
11/21/2016 514                                        (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                     Improper Purpose Ex. 1-6         Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5,
                                                      # 6 Exhibit Sealed Composite 6)

                                                      REPLY to Response to Motion re: 509 MOTION for
                 Motion in Limine re. Admissibility
12/20/2016 515                                      Sanctions Based on Plaintiff's Intentional Destruction of
                            of Evidence             Evidence filed by Ghislaine Maxwell.


                 Motion in Limine re. Admissibility DECLARATION of Laura A. Menninger in Support re: 509
                            of Evidence             MOTION for Sanctions Based on Plaintiff's Intentional
12/20/2016 516                                        Destruction of Evidence filed by Ghislaine Maxwell.
                               Ex. D-G                (Attachments: # 1 Exhibit E, # 2 Exhibit F, # 3 Exhibit G)



                                                      MOTION in Limine To Exclude Expert Testimony and
01/05/2017 520      Motion in Limine re. Expert       Opinion of Chris Anderson filed by Ghislaine Maxwell.


                                                      DECLARATION of Jeffrey S. Pagliuca in Support re: 520
                                                      MOTION in Limine To Exclude Expert Testimony and
                    Motion in Limine re. Expert
                                                      Opinion of Chris Anderson filed by Ghislaine Maxwell.
01/05/2017 521                                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                               Ex. A-K                4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                                      Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)


                                                      MOTION in Limine To Exclude Expert Testimony and
01/05/2017 522      Motion in Limine re. Expert       Opinions of William F. Chandler filed by Ghislaine Maxwell.



                                                      DECLARATION of Jeffrey S. Pagliuca in Support re: 522
                    Motion in Limine re. Expert
                                                      MOTION in Limine To Exclude Expert Testimony and
01/05/2017 523                                        Opinions of William F. Chandler filed by Ghislaine Maxwell.
                               Ex. A-B                (Attachments: # 1 Exhibit A, # 2 Exhibit B)


                                                      MOTION in Limine To Exclude Expert Testimony and
01/05/2017 524      Motion in Limine re. Expert       Opinion of Professor Terry Coonan, J.D filed by Ghislaine
                                                      Maxwell.




                                                 19
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 21 of 48



                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 524
                  Motion in Limine re. Expert
                                                 MOTION in Limine To Exclude Expert Testimony and
01/05/2017 525                                   Opinion of Professor Terry Coonan, J.D. filed by Ghislaine
                           Ex. A-B               Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B)



                                                 MOTION in Limine To Exclude Expert Testimony and
01/05/2017 526    Motion in Limine re. Expert    Opinion of Dianne C. Flores filed by Ghislaine Maxwell.



                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 526
                  Motion in Limine re. Expert
                                                 MOTION in Limine To Exclude Expert Testimony and
01/05/2017 527                                   Opinion of Dianne C. Flores filed by Ghislaine Maxwell.
                            Ex. A                (Attachments: # 1 Exhibit A)



01/05/2017 528                                   MOTION in Limine To Exclude Expert Testimony and
                  Motion in Limine re. Expert    Opinion of Dr. Bernard Jansen filed by Ghislaine Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 528
                  Motion in Limine re. Expert    MOTION in Limine To Exclude Expert Testimony and
01/05/2017 529                                   Opinion of Dr. Bernard Jansen filed by Ghislaine Maxwell.
                           Ex. A-G               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                                                 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)


                                                 MOTION in Limine To Exclude Expert Testimony and
01/05/2017 530    Motion in Limine re. Expert    Opinion of Doctor Gilbert Kliman filed by Ghislaine
                                                 Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 530
                  Motion in Limine re. Expert    MOTION in Limine To Exclude Expert Testimony and
01/05/2017 531
                                                 Opinion of Doctor Gilbert Kliman filed by Ghislaine
                           Ex. A-C               Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                                 Exhibit C)


01/06/2017 533                                   MOTION in Limine and Incorporated Memorandum of Law
                  Motion in Limine re. Expert    filed by Virginia L. Giuffre.



                                                 DECLARATION of Sigrid McCawley in Support re: 533
                  Motion in Limine re. Expert
                                                 MOTION in Limine and Incorporated Memorandum of Law
01/06/2017 534                                   filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                           Ex. 1-3               Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3)




                                            20
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 22 of 48




                                                  MOTION in Limine and Incorporated Memorandum of Law
01/06/2017 535    Motion in Limine re. Expert     filed by Virginia L. Giuffre.


                                                  DECLARATION of Sigrid McCawley in Support re: 535
                  Motion in Limine re. Expert     MOTION in Limine and Incorporated Memorandum of Law
01/06/2017 536                                    filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                           Ex. 1-5                Redacted 1, # 2 Exhibit Redacted 2, # 3 Exhibit Redacted 3,
                                                  # 4 Exhibit Redacted 4, # 5 Exhibit Redacted 5)


                                                  FILING ERROR - WRONG EVENT TYPE SELECTED
01/06/2017 538    Unsealed by Second Circuit      FROM MENU – MOTION for Summary Judgment filed by
                                                  Ghislaine Maxwell. Modified on 1/9/2017 (01/06/2017)

                                                  FILING ERROR - DEFICIENT DOCKET ENTRY -
                                                  DECLARATION of Laura A. Menninger in Support re: 538
                  Unsealed by Second Circuit      MOTION for Summary Judgment filed by Ghislaine
01/06/2017 539
                                                  Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                      Ex. D, G-KK, MM             Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                                                  Exhibit G-KK, # 8 Exhibit LL, # 9 Exhibit MM)Modified on
                                                  1/9/2017

                                                  MEMORANDUM OF LAW in Support re: 540 MOTION
01/09/2017 541
                  Unsealed by Second Circuit      for Summary Judgment. Document filed by Ghislaine
                                                  Maxwell.


                                                  DECLARATION of Laura A. Menninger in Support re: 540
                  Unsealed by Second Circuit      MOTION for Summary Judgment filed by Ghislaine
01/09/2017 542
                                                  Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                      Ex. D, G-KK, MM             Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                                                  Exhibit G-KK, # 8 Exhibit LL, # 9 Exhibit MM)


                   Objection to Deposition        MOTION in Limine to Exclude Defendant's Designations of
01/23/2017 561     Designations or Counter        Deposition Excerpts of Alan Dershowitz filed by Virginia L.
                        Designations              Giuffre.

                   Objection to Deposition        DECLARATION of Sigrid McCawley in Support re: 561
                   Designations or Counter        MOTION in Limine to Exclude Defendant's Designations of
01/27/2017 562          Designations              Deposition Excerpts of Alan Dershowitz filed by Virginia L.
                                                  Giuffre. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                           Ex. 3-4                Exhibit Sealed 3, # 4 Exhibit Sealed 4)


                   Objection to Deposition        MOTION in Limine to Exclude Defendant's Designations of
01/27/2017 563
                   Designations or Counter        Deposition Excerpts of Virginia Giuffre in an Unrelated Case
                        Designations              filed by Virginia L. Giuffre.



                                             21
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 23 of 48


                   Objection to Deposition         DECLARATION of Sigrid McCawley in Support re: 563
                   Designations or Counter         MOTION in Limine to Exclude Defendant's Designations of
01/27/2017 564
                        Designations               Deposition Excerpts of Virginia Giuffre in an Unrelated Case
                                                   filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                            Ex. 1                  1)


                   Objections to Deposition        NOTICE of Filing Plaintiff's Objections to Defendant's
01/27/2017 565     Designations or Counter         Deposition Designations and Plaintiff's Cross Designations
                        Designations               filed by Virginia L. Giuffre.



                   Objections to Deposition
                                                   Objection to Plaintiff's Deposition Designations filed by
01/27/2017 566     Designations or Counter         Ghislaine Maxwell.
                        Designations


                   Objections to Deposition
                                                   MOTION in Limine to Exclude In Toto Certain Depositions
                   Designations or Counter
01/27/2017 567                                     Designated By Plaintiff for Use at Trial filed by Ghislaine
                        Designations               Maxwell.

                   Objections to Deposition        DECLARATION of Laura A. Menninger in Support re: 567
                   Designations or Counter         MOTION in Limine to Exclude In Toto Certain Depositions
01/27/2017 568          Designations               Designated By Plaintiff for Use at Trial filed by Ghislaine
                                                   Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Ex. A-E                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)


                                                   RESPONSE in Opposition to Motion re: 530 MOTION in
01/30/2017 569    Motion in Limine re. Expert
                                                   Limine To Exclude Expert Testimony and Opinion of Doctor
                                                   Gilbert Kliman filed by Virginia L. Giuffre.

                                                   DECLARATION of Sigrid McCawley in Opposition re: 530
                                                   MOTION in Limine To Exclude Expert Testimony and
                  Motion in Limine re. Expert
                                                   Opinion of Doctor Gilbert Kliman filed by Virginia L.
01/30/2017 570                                     Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                            Ex. 1-5                Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5
                                                   Exhibit Sealed 5)

                                                   RESPONSE in Opposition to Motion re: 524 MOTION in
                  Motion in Limine re. Expert
01/30/2017 572                                     Limine To Exclude Expert Testimony and Opinion of
                                                   Professor Terry Coonan, J.D filed by Virginia L. Giuffre.

                                                   DECLARATION of Sigrid McCawley in Opposition re: 524
                                                   MOTION in Limine To Exclude Expert Testimony and
                  Motion in Limine re. Expert
01/30/2017 573                                     Opinion of Professor Terry Coonan, J.D. filed by Virginia L.
                                                   Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                            Ex. 1-5                Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5
                                                   Exhibit Sealed 5)


                                              22
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 24 of 48



                                                 RESPONSE in Opposition to Motion re: 522 MOTION in
01/30/2017 574    Motion in Limine re. Expert
                                                 Limine To Exclude Expert Testimony and Opinions of
                                                 William F. Chandler filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 522
                  Motion in Limine re. Expert    MOTION in Limine To Exclude Expert Testimony and
01/30/2017 575                                   Opinions of William F. Chandler filed by Virginia L. Giuffre.
                            Ex. 1-3              (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                                                 Exhibit Sealed 3)


                                                 NOTICE of Letter Reply in Support of Plaintiff's Letter
01/30/2017 576   Motion in Limine re. Evidence   Motion to Add New Witness re: 558 Order Setting Hearing
                                                 on Motion, filed by Virginia L. Giuffre.



                                                 RESPONSE in Opposition to Motion re: 526 MOTION in
                  Motion in Limine re. Expert
01/31/2017 577                                   Limine To Exclude Expert Testimony and Opinion of Dianne
                                                 C. Flores filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 526
                  Motion in Limine re. Expert    MOTION in Limine To Exclude Expert Testimony and
01/31/2017 578                                   Opinion of Dianne C. Flores filed by Virginia L. Giuffre.
                            Ex. 1-5              (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                                                 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5)


                                                 RESPONSE in Opposition to Motion re: 520 MOTION in
                  Motion in Limine re. Expert
01/31/2017 579                                   Limine To Exclude Expert Testimony and Opinion of Chris
                                                 Anderson filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 520
                  Motion in Limine re. Expert    MOTION in Limine To Exclude Expert Testimony and
01/31/2017 580                                   Opinion of Chris Anderson filed by Virginia L. Giuffre.
                            Ex. 1-4              (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                                                 Exhibit Sealed 3, # 4 Exhibit Sealed 4)


                                                 RESPONSE in Opposition to Motion re: 528 MOTION in
01/31/2017 581    Motion in Limine re. Expert
                                                 Limine To Exclude Expert Testimony and Opinion of Dr.
                                                 Bernard Jansen filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 528
                  Motion in Limine re. Expert
                                                 MOTION in Limine To Exclude Expert Testimony and
01/31/2017 582                                   Opinion of Dr. Bernard Jansen filed by Virginia L. Giuffre.
                            Ex. 1-2              (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2)




                                            23
          Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 25 of 48



                                                        RESPONSE in Opposition to Motion re: 535 MOTION in
                       Motion in Limine re. Expert      Limine and Incorporated Memorandum of Law. Regarding
01/31/2017 583                                          Gregory B. Taylor and Kyle D. Jacobson filed by Ghislaine
                                                        Maxwell.


                                                        RESPONSE in Opposition to Motion re: 533 MOTION in
                       Motion in Limine re. Expert
01/31/2017 584                                          Limine and Incorporated Memorandum of Law. Regarding
                                                        Dr. Phillip Esplin filed by Ghislaine Maxwell.


                                                        DECLARATION of Jeffrey S. Pagliuca in Opposition re:
                       Motion in Limine re. Expert
                                                        533 MOTION in Limine and Incorporated Memorandum of
01/31/2017 585                                          Law filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit
                                  Ex. A                 A)


                                                        RESPONSE in Opposition to Motion re: 540 MOTION for
                                                        Summary Judgment filed by Virginia L. Giuffre.
01/31/2017 586         Unsealed by Second Circuit       (Attachments: # 1 Appendix Rule 56.1 Statement of Facts, #
                                                        2 Exhibit Declaration, # 3 Exhibit Redacted 1-50)

                                                       LETTER MOTION to Reopen re: 576 Notice (Other), 558
                                                       Order Setting Hearing on Motion, Discovery re New Witness
02/03/2017 591
                   Pleadings re. Third Parties – Other (original filed 1/19/17) addressed to Judge Robert W. Sweet
                                                       from Sigrid S. McCawley dated 01/19/17 filed by Virginia L.
                                                       Giuffre.


                                                        NOTICE of Filing Defendant's Counter-Designations to
02/03/2017 592 Deposition Designations or Counter
                                                  Plaintiff's Deposition Designations filed by Ghislaine
                          Designations            Maxwell.



                                                        REPLY MEMORANDUM OF LAW in Support re: 535
02/09/2017 599         Motion in Limine re. Expert      MOTION in Limine and Incorporated Memorandum of Law
                                                        filed by Virginia L. Giuffre.


                                                        DECLARATION of Sigrid McCawley in Support re: 535
                                                        MOTION in Limine and Incorporated Memorandum of Law
                       Motion in Limine re. Expert
02/09/2017 600                                          filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                                                        Sealed 1, # 2 Exhibit Composite Sealed 2, # 3 Exhibit Sealed
                                                        3)


02/09/2017 601                                          NOTICE of Intent to Offer Statements Under, If Necessary,
                      Motion in Limine re. Evidence The Residual Hearsay Rule filed by Virginia L. Giuffre.




                                                   24
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 26 of 48



                                                   REPLY MEMORANDUM OF LAW in Support re: 533
                  Motion in Limine re. Expert
02/09/2017 602                                     MOTION in Limine and Incorporated Memorandum of Law
                                                   filed by Virginia L. Giuffre.


                                                   DECLARATION of Sigrid McCawley in Support re: 533
                                                   MOTION in Limine and Incorporated Memorandum of Law
                  Motion in Limine re. Expert
02/09/2017 603                                     filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                                                   Sealed 1, # 2 Exhibit Composite Sealed 2, # 3 Exhibit Sealed
                                                   3)


                   Objections to Deposition        RESPONSE in Opposition to Motion re: 567 MOTION in
02/10/2017 606     Designations or Counter         Limine to Exclude In Toto Certain Depositions Designated
                        Designations               By Plaintiff for Use at Trial filed by Virginia L. Giuffre.

                   Objections to Deposition        DECLARATION of Sigrid McCawley in Opposition re: 567
                   Designations or Counter         MOTION in Limine to Exclude In Toto Certain Depositions
02/10/2017 607          Designations               Designated By Plaintiff for Use at Trial filed by Virginia L.
                                                   Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                            Ex. 1-3                Sealed 2, # 3 Exhibit Sealed 3)


                                                   MOTION in Limine to Present Testimony From Jeffrey
02/10/2017 608   Motion in Limine re. Evidence     Epstein for Purposes of Obtaining an Adverse Inference
                                                   filed by Virginia L. Giuffre.


                                                   DECLARATION of Sigrid McCawley in Support re: 608
                 Motion in Limine re. Evidence
                                                   MOTION in Limine to Present Testimony From Jeffrey
02/10/2017 609                                     Epstein for Purposes of Obtaining an Adverse Inference filed
                             Ex. 1                 by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1)


                                                   REPLY to Response to Motion re: 520 MOTION in Limine
                  Motion in Limine re. Expert
02/10/2017 611                                     To Exclude Expert Testimony and Opinion of Chris Anderson
                                                   filed by Ghislaine Maxwell.



                                                   REPLY to Response to Motion re: 522 MOTION in Limine
                  Motion in Limine re. Expert
02/10/2017 612                                     To Exclude Expert Testimony and Opinions of William F.
                                                   Chandler filed by Ghislaine Maxwell.



                                                   REPLY to Response to Motion re: 528 MOTION in Limine
                  Motion in Limine re. Expert
02/10/2017 613                                     To Exclude Expert Testimony and Opinion of Dr. Bernard
                                                   Jansen filed by Ghislaine Maxwell.




                                              25
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 27 of 48



                                                 REPLY to Response to Motion re: 524 MOTION in Limine
                  Motion in Limine re. Expert
02/10/2017 614                                   To Exclude Expert Testimony and Opinion of Professor Terry
                                                 Coonan, J.D filed by Ghislaine Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 524
                  Motion in Limine re. Expert    MOTION in Limine To Exclude Expert Testimony and
02/10/2017 615                                   Opinion of Professor Terry Coonan, J.D. filed by Ghislaine
                           Ex. C-E               Maxwell. (Attachments: # 1 Exhibit C, # 2 Exhibit D, # 3
                                                 Exhibit E)


                                                 REPLY to Response to Motion re: 526 MOTION in Limine
02/10/2017 616    Motion in Limine re. Expert
                                                 To Exclude Expert Testimony and Opinion of Dianne C.
                                                 Flores filed by Ghislaine Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 526
                  Motion in Limine re. Expert
                                                 MOTION in Limine To Exclude Expert Testimony and
02/10/2017 617                                   Opinion of Dianne C. Flores filed by Ghislaine Maxwell.
                            Ex. B                (Attachments: # 1 Exhibit B)


                                                 REPLY to Response to Motion re: 530 MOTION in Limine
                  Motion in Limine re. Expert
02/10/2017 618                                   To Exclude Expert Testimony and Opinion of Doctor Gilbert
                                                 Kliman filed by Ghislaine Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 530
                  Motion in Limine re. Expert
                                                 MOTION in Limine To Exclude Expert Testimony and
02/10/2017 619                                   Opinion of Doctor Gilbert Kliman filed by Ghislaine
                           Ex. D-E               Maxwell. (Attachments: # 1 Exhibit D, # 2 Exhibit E)


                                                 REPLY to Response to Motion re: 540 MOTION for
02/10/2017 620
                  Unsealed by Second Circuit     Summary Judgment filed by Ghislaine Maxwell.
                                                 (Attachments: # 1 Appendix Rule 56.1 Statement of Facts)


                                                 DECLARATION of Laura A. Menninger in Support re: 540
                  Unsealed by Second Circuit
                                                 MOTION for Summary Judgment filed by Ghislaine
02/10/2017 621                                   Maxwell. (Attachments: # 1 Exhibit NN, # 2 Exhibit OO, # 3
                          Ex. OO-N               Exhibit PP, # 4 Exhibit QQ, # 5 Exhibit RR)



                                                 JOINT PRETRIAL STATEMENT filed by Ghislaine
02/10/2017 622        Case Management            Maxwell.




                                            26
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 28 of 48



                      Objections to Deposition
02/17/2017 630                                        NOTICE of Plaintiff's Objections to Defendant's Counter
                      Designations or Counter         Designations filed by Virginia L. Giuffre.
                           Designations


                      Objections to Deposition        REPLY to Response to Motion re: 567 MOTION in Limine
             631
                      Designations or Counter         to Exclude In Toto Certain Depositions Designated By
02/17/2017                                            Plaintiff for Use at Trial filed by Ghislaine Maxwell.
                           Designations

                      Objections to Deposition
                                                      DECLARATION of Laura A. Menninger in Support re: 567
                      Designations or Counter
                                                      MOTION in Limine to Exclude In Toto Certain Depositions
02/17/2017 632             Designations               Designated By Plaintiff for Use at Trial filed by Ghislaine
                                                      Maxwell. (Attachments: # 1 Exhibit F)
                               Ex. F

                      Objections to Deposition
                                                      Objection to Plaintiff's Cross Designation of Deposition
02/17/2017 633        Designations or Counter         Testimony filed by Ghislaine Maxwell.
                           Designations


                                                      MOTION to Compel Philip Barden To Produce All Work
02/17/2017 637           Motion to Compel             Product and Attorney Client Communications filed by
                                                      Virginia L. Giuffre.

                                                      DECLARATION of Meredith Schultz in Support re: 637
                                                      MOTION to Compel Philip Barden To Produce All Work
                         Motion to Compel
                                                      Product and Attorney Client Communications. Document
02/22/2017 638                                        filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                              Ex. 2-5                 Composite Exhibit 1, # 2 Exhibit Sealed 2, # 3 Exhibit
                                                      Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5)


                                                      MOTION for Protective Order for Non-Party Witness filed
02/22/2017 640     Pleadings re. Third Party-Other
                                                      by John Stanley Pottinger, Sarah Ransome.



                   Pleadings re. Third Party-Other DECLARATION of John Stanley Pottinger in Support re:
                                                      640 MOTION for Protective Order for Non-Party Witness
02/22/2017 641                                        filed by Sarah Ransome. (Attachments: # 1 Exhibit Sealed 1,
                              Ex. 1-2                 # 2 Exhibit Sealed 2)


                                                      RESPONSE in Opposition to Motion re: 608 MOTION in
                                                      Limine to Present Testimony From Jeffrey Epstein for
02/24/2017 644     Motion in Limine re. Evidence      Purposes of Obtaining an Adverse Inference filed by
                                                      Ghislaine Maxwell.




                                                 27
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 29 of 48


                                                      DECLARATION of Laura A. Menninger in Opposition re:
                    Motion in Limine re. Evidence     608 MOTION in Limine to Present Testimony From Jeffrey
02/24/2017 645
                                                      Epstein for Purposes of Obtaining an Adverse Inference filed
                               Ex. A-D                by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                                                      Exhibit B, # 3 Exhibit C, # 4 Exhibit D)


                                                      RESPONSE re: 601 Notice (Other) Response to Plaintiffs
02/24/2017 646
                    Motion in Limine re. Evidence     Notice Of Intent To Offer Statements Under, If Necessary,
                                                      The Residual Hearsay Rule filed by Ghislaine Maxwell.


                                                      REPLY MEMORANDUM OF LAW in Support re: 608
03/02/2017                                            MOTION in Limine to Present Testimony From Jeffrey
             650    Motion in Limine re. Evidence     Epstein for Purposes of Obtaining an Adverse Inference filed
                                                      by Virginia L. Giuffre.

                                                      DECLARATION of Sigrid McCawley in Support re: 608
                    Motion in Limine re. Evidence     MOTION in Limine to Present Testimony From Jeffrey
03/02/2017                                            Epstein for Purposes of Obtaining an Adverse Inference filed
             651                                      by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, #
                                Ex.1-2
                                                      2 Exhibit Sealed 2)

                                                       RESPONSE in Opposition to Motion re: 637 MOTION to
                                                       Compel Philip Barden To Produce All Work Product and
03/02/2017 653     Pleadings re. Third Parties - Other
                                                       Attorney Client Communications filed by Ghislaine
                                                       Maxwell.


                   Pleadings re. Third Parties - Other DECLARATION of Laura A. Menninger in Opposition re:
                                                      637 MOTION to Compel Philip Barden To Produce All
03/02/2017 654                                        Work Product and Attorney Client Communications filed by
                                 Ex. A                Ghislaine Maxwell. (Attachments: # 1 Exhibit A)


                                                      MOTION to Compel Non-Party Witness to Produce
03/02/2017 655      Pleadings re. Third Party-Other   Documents, Respond to Deposition Questions, and Response
                                                      to Motion for Protective Order filed by Ghislaine Maxwell.

                                                      DECLARATION of Laura A. Menninger in Support re: 655
                                                      MOTION to Compel Non- Party Witness to Produce
                                                      Documents, Respond to Deposition Questions, and Response
03/02/2017 656      Pleadings re. Third Party-Other   to Motion for Protective Order filed by Ghislaine Maxwell.
                                                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                                                      4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                                      Exhibit H, # 9 Exhibit I)


                                                      MOTION to Quash filed by Jeffrey Epstein.
03/03/2017 657      Pleadings re. Third Party-Other   Epstein Motion to Quash Trial Subpoena




                                                 28
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 30 of 48



                                                 SECOND MOTION to Compel Ghislaine Maxwell to
                                                 Disclose Data from Defendant's Undisclosed Email Account
03/03/2017 659        Motion to Compel           and for An Adverse Inference Instruction filed by Virginia L.
                                                 Giuffre.

                                                 DECLARATION of Meredith Schultz in Support re: 659
                                                 SECOND MOTION to Compel Ghislaine Maxwell to
                      Motion to Compel
                                                 Disclose Data from Defendant's Undisclosed Email Account
03/03/2017 660                                   and for An Adverse Inference Instruction filed by Virginia L.
                            Ex. 1-4              Giuffre. (Attachments: # 1 Exhibit Composite Exhibit 1, # 2
                                                 Exhibit Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4)

                                                 MOTION to Bifurcate Trial Relating to Punitive Damages
                                                 and Exclusion of any Reference to Defendants Financial
03/03/2017 662        Case Management            Information in the Liability Phase filed by Ghislaine
                                                 Maxwell.


                                                 MOTION in Limine to Exclude Complaint and Settlement
03/03/2017 663   Motion in Limine re. Evidence   Agreement in Jane Doe 102 v. Jeffrey Epstein filed by
                                                 Ghislaine Maxwell.



                                                 MOTION in Limine to Exclude Late Disclosed Supplemental
03/03/2017 664    Motion in Limine re. Expert    Report of Dr. James Jansen and Video Trial Exhibit of Dr.
                                                 Gilbert Kliman filed by Ghislaine Maxwell.



                                                 MOTION in Limine to Prohibit Questioning Regarding
03/03/2017 665   Motion in Limine re. Evidence   Defendants Adult Consensual Sexual Activities filed by
                                                 Ghislaine Maxwell.



                                                 MOTION in Limine to Exclude Evidence Barred as a Result
03/03/2017 666   Motion in Limine re. Evidence   of Plaintiffs Summary Judgment Concessions filed by
                                                 Ghislaine Maxwell.



                                                 MOTION in Limine to Exclude FBI 302 Statement of
03/03/2017 667   Motion in Limine re. Evidence   Plaintiff filed by Ghislaine Maxwell.



                                                 DECLARATION of Laura A. Menninger in Support re: 667
                 Motion in Limine re. Evidence
03/03/2017 668                                   MOTION in Limine to Exclude FBI 302 Statement of
03/03/2017                                       Plaintiff filed by Ghislaine Maxwell. (Attachments: # 1
                            Ex. A                Exhibit A)




                                            29
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 31 of 48




03/03/2017                                         MOTION in Limine to Exclude References to Crime Victims
             669   Motion in Limine re. Evidence   Rights Act Litigation filed by Ghislaine Maxwell.



                                                   DECLARATION of Laura A. Menninger in Support re: 669
                   Motion in Limine re. Evidence
                                                   MOTION in Limine to Exclude References to Crime Victims
03/03/2017 670                                     Rights Act Litigation filed by Ghislaine Maxwell.
                              Ex. A                (Attachments: # 1 Exhibit A)


                                                   MOTION in Limine to Exclude Jeffrey Epstein Plea and
03/03/2017 671     Motion in Limine re. Evidence   Non-Prosecution Agreement and Sex Offender Registration
                                                   filed by Ghislaine Maxwell.


                                                   DECLARATION of Laura A. Menninger in Support re: 671
                   Motion in Limine re. Evidence   MOTION in Limine to Exclude Jeffrey Epstein Plea and
03/03/2017 672                                     Non-Prosecution Agreement and Sex Offender Registration
                             Ex. A-B               filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                                                   Exhibit B)


                                                   MOTION in Limine Exclude Deposition Testimony of Sarah
03/03/2017 673     Motion in Limine re. Evidence   Kellen and Nadia Marcinkova or Any Witness Invoking Their
                                                   Fifth Amendment Privilege filed by Ghislaine Maxwell.


                                                   DECLARATION of Laura A. Menninger in Support re: 673
                   Motion in Limine re. Evidence   MOTION in Limine Exclude Deposition Testimony of Sarah
03/03/2017 674                                     Kellen and Nadia Marcinkova or Any Witness Invoking Their
                              Ex. A                Fifth Amendment Privilege filed by Ghislaine Maxwell.
                                                   (Attachments: # 1 Exhibit A)


                                                   MOTION in Limine to Permit Questioning Regarding
03/03/2017 675     Motion in Limine re. Evidence   Plaintiffs Sexual History and Reputation filed by Ghislaine
                                                   Maxwell.


                                                   DECLARATION of Laura A. Menninger in Support re: 675
                   Motion in Limine re. Evidence   MOTION in Limine to Permit Questioning Regarding
03/03/2017 676
                                                   Plaintiffs Sexual History and Reputation filed by Ghislaine
                             Ex. A-F               Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                                   Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)


                                                   MOTION in Limine to Exclude Police Reports and Other
03/03/2017 677     Motion in Limine re. Evidence   Inadmissible Hearsay filed by Ghislaine Maxwell.




                                              30
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 32 of 48



                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 677
                 Motion in Limine re. Evidence
                                                 MOTION in Limine to Exclude Police Reports and Other
03/03/2017 678                                   Inadmissible Hearsay filed by Ghislaine Maxwell.
                           Ex. A-C               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)


                                                 MOTION in Limine to Exclude Unauthenticated Hearsay
03/03/2017 679
                 Motion in Limine re. Evidence   Document from a Suspect Source filed by Ghislaine
                                                 Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 679
                 Motion in Limine re. Evidence
                                                 MOTION in Limine to Exclude Unauthenticated Hearsay
03/03/2017 680                                   Document from a Suspect Source filed by Ghislaine Maxwell.
                           Ex. A-C               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)



                                                 MOTION in Limine to Exclude Victim Notification Letter
03/03/2017 681   Motion in Limine re. Evidence filed by Ghislaine Maxwell.



                                                 DECLARATION of Laura A. Menninger in Support re: 681
                 Motion in Limine re. Evidence
03/03/2017 682                                   MOTION in Limine to Exclude Victim Notification Letter
                                                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                           Ex. A-C               Exhibit B, # 3 Exhibit C)


                                                 MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
03/03/2017 683   Motion in Limine re. Evidence   ADMIT THE BLACK BOOK AS EVIDENCE AT TRIAL filed
                                                 by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid S. McCawley in Support re: 683
                 Motion in Limine re. Evidence   MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
03/03/2017 684                                   ADMIT THE BLACK BOOK AS EVIDENCE AT TRIAL filed
                            Ex. 1-2              by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1 (Filed
                                                 Under Seal), # 2 Exhibit 2 (Filed Under Seal))

                                                 MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
03/03/2017 685                                   PRECLUDE DEFENDANT FROM CALLING PLAINTIFFS
                 Motion in Limine re. Evidence   ATTORNEYS AS WITNESSES AT TRIAL filed by Virginia L.
                                                 Giuffre.

                                                 MOTION in Limine PLAINTIFF MS. GIUFFRES
                                                 MEMORANDUM OF LAW IN SUPPORT OF HER
                                                 MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF
03/03/2017 686   Motion in Limine re. Evidence   DEFENDANTS INVOLVEMENT IN EPSTEIN SEXUAL
                                                 ABUSE AND SEX TRAFFICKING filed by Virginia L.
                                                 Giuffre.



                                            31
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 33 of 48


                                                 DECLARATION of Sigrid S. McCawley in Support re: 686
                                                 MOTION in Limine PLAINTIFF MS. GIUFFRES
                 Motion in Limine re. Evidence   MEMORANDUM OF LAW IN SUPPORT OF HER
03/03/2017 687                                   MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF
                             Ex. 1               DEFENDANTS INVOLVEMENT IN EPSTEIN SEXUAL
                                                 ABUSE AND SEX TRAFFICKING filed by Virginia L.
                                                 Giuffre. (Attachments: # 1 Exhibit 1 (Filed Under Seal))

                                                 MOTION in Limine to Present Testimony for Purpose of
03/03/2017 689   Motion in Limine re. Evidence   Obtaining an Adverse Inference Instruction filed by Virginia
                                                 L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Support re: 689
                 Motion in Limine re. Evidence
                                                 MOTION in Limine to Present Testimony for Purpose of
03/03/2017 690                                   Obtaining an Adverse Inference Instruction filed by Virginia
                             Ex. 1               L. Giuffre. (Attachments: # 1 Exhibit Composite Exhibit 1)



03/03/2017 691   Motion in Limine re. Evidence   MOTION in Limine Omnibus filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Support re: 691
                 Motion in Limine re. Evidence   MOTION in Limine Omnibus filed by Virginia L. Giuffre.
03/03/2017 692                                   (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                            Ex. 1-6              Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5,
                                                 # 6 Exhibit Sealed 6)


                                                 MOTION to Exclude Evidence Pursuant to Fed. R. Evid.
03/03/2017 693   Motion in Limine re. Evidence   404(b) filed by Ghislaine Maxwell.


                                                 DECLARATION of Laura A. Menninger in Support re: 693
                                                 MOTION to Exclude Evidence Pursuant to Fed. R. Evid.
                 Motion in Limine re. Evidence
                                                 404(b) filed by Ghislaine Maxwell. (Attachments: # 1
03/03/2017 694                                   Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                           Ex. A-I               Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                                 Exhibit I)

                                                 REPLY MEMORANDUM OF LAW in Support re: 637
                                                 MOTION to Compel Philip Barden To Produce All Work
03/07/2017 697        Motion to Compel           Product and Attorney Client Communications. .Document
                                                 filed by Virginia L. Giuffre.

                                                 DECLARATION of Meredith Schultz in Support re: 637
                      Motion to Compel           MOTION to Compel Philip Barden To Produce All Work
03/07/2017 698                                   Product and Attorney Client Communications filed by
                            Ex. 1-2              Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2
                                                 Exhibit Composite Sealed 2)


                                            32
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 34 of 48


                                                       ***STRICKEN DOCUMENT. Deleted document
                                                       number 700 from the case record. The document was
                                                       stricken from this case pursuant to 718 Order on Motion
                                                       to Seal Document. REPLY MEMORANDUM OF LAW in
03/07/2017 700     Pleadings re. Third Parties - Other Support re: 640 MOTION for Protective Order for Non-
                                                       Party Witness and Opposition to [DE 655] MOTION to
                                                       Compel Non-Party Witness to Produce Documents, and
                                                       Respond to Deposition Questions filed by John Stanley
                                                       Pottinger. Modified on 3/15/2017.

                   Pleadings re. Third Parties - Other DECLARATION of J. Stanley Pottinger in Support re: 640
                                                       MOTION for Protective Order for Non-Party Witness filed
03/07/2017 701                                         by John Stanley Pottinger. (Attachments: # 1 Exhibit Sealed
                                Ex. 1-2                1, # 2 Exhibit Sealed 2)


                                                       NOTICE of Reply Notice of Intent to Offer Statements
             705
03/10/2017          Motion in Limine re. Evidence      Under, If Necessary, the Residual Hearsay Rule re: 601
                                                       Notice (Other) filed by Virginia L. Giuffre.


                                                       NOTICE of Sigrid McCawley Declaration in Support of
                    Motion in Limine re. Evidence      Reply Notice of Intent to Offer Statements Under, If
03/10/2017 706
                                                       Necessary, the Residual Hearsay Rule re: 705 Notice (Other).
                                Ex. 1-2                Document filed by Virginia L. Giuffre. (Attachments: # 1
                                                       Exhibit Sealed 1, # 2 Exhibit Sealed 2)
                                                       REPLY MEMORANDUM OF LAW in Support re: 640
                                                       MOTION for Protective Order for Non-Party Witness, 655
                                                       MOTION to Compel Non-Party Witness to Produce
03/13/2017 707      Pleadings re. Third Party-Other    Documents, Respond to Deposition Questions, and Response
                                                       to Motion for Protective Order. [RE-FILED W/ ADD'L
                                                       REDACTION/REPLACE DE 700 filed by Virginia L.
                                                       Giuffre.
                                                       REPLY MEMORANDUM OF LAW in Support re: 640
                                                       MOTION for Protective Order for Non-Party Witness, 655
                                                       MOTION to Compel Non-Party Witness to Produce
03/13/2017 709
                    Pleadings re. Third Party-Other    Documents, Respond to Deposition Questions, and Response
                                                       to Motion for Protective Order. [RE-FILED W/ADD'L
                                                       REDACTION/REPLACE DE 700] filed by John Stanley
                                                       Pottinger.

                                                       RESPONSE in Opposition to Motion re: 657 MOTION to
03/14/2017 712      Pleadings re. Third Party-Other    Quash. Document filed by Virginia L. Giuffre. PTF Response
                                                       to Jeffrey Epstein Motion to Quash Trial Subpoena



                    Pleadings re. Third Party-Other    DECLARATION of Sigrid McCawley in Opposition re: 657
03/14/2017 713                                         MOTION to Quash filed by Virginia L. Giuffre.
                                Ex. 1-2                (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2)




                                                  33
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 35 of 48



                                                    REPLY to Response to Motion re: 655 MOTION to Compel
03/14/2017 714                                      Non-Party Witness to Produce Documents, Respond to
                  Pleadings re. Third Party-Other   Deposition Questions, and Response to Motion for
                                                    Protective Order filed by Ghislaine Maxwell.

                                                    DECLARATION of Laura A. Menninger in Support re: 655
                  Pleadings re. Third Party-Other   MOTION to Compel Non- Party Witness to Produce
03/14/2017 5712                                     Documents, Respond to Deposition Questions, and Response
                             Ex. J-K                to Motion for Protective Order filed by Ghislaine Maxwell.
                                                    (Attachments: # 1 Exhibit J, # 2 Exhibit K)


                                                    RESPONSE in Opposition to Motion re: 679 MOTION in
03/15/2017 716    Motion in Limine re. Evidence     Limine to Exclude Unauthenticated Hearsay Document from
                                                    a Suspect Source filed by Virginia L. Giuffre.


                                                    DECLARATION of Sigrid McCawley in Opposition re: 679
                  Motion in Limine re. Evidence
                                                    MOTION in Limine to Exclude Unauthenticated Hearsay
03/15/2017 717                                      Document from a Suspect Source filed by Virginia L. Giuffre.
                             Ex. 1-2                (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2)


                                                    NOTICE of Notice of Intent to Redact Transcript of
03/15/2017 721          Case Management             Proceedings re: 702 Transcript, filed by Virginia L. Giuffre.
                                                    (Attachments: # 1 Exhibit Transcript (Filed Under Seal))


                                                    RESPONSE in Opposition to Motion re: 673 MOTION in
                                                    Limine Exclude Deposition Testimony of Sarah Kellen and
03/17/2017 722    Motion in Limine re. Evidence     Nadia Marcinkova or Any Witness Invoking Their Fifth
                                                    Amendment Privilege filed by Virginia L. Giuffre.

                                                    DECLARATION of Sigrid McCawley in Opposition re: 673
                  Motion in Limine re. Evidence     MOTION in Limine Exclude Deposition Testimony of Sarah
03/17/2017 723                                      Kellen and Nadia Marcinkova or Any Witness Invoking Their
                              Ex. 1                 Fifth Amendment Privilege filed by Virginia L. Giuffre.
                                                    (Attachments: # 1 Exhibit Sealed 1)


                                                    RESPONSE in Opposition to Motion re: 663 MOTION in
03/17/2017 724
                  Motion in Limine re. Evidence     Limine to Exclude Complaint and Settlement Agreement in
                                                    Jane Doe 102 v. Jeffrey Epstein filed by Virginia L. Giuffre.


                                                    RESPONSE in Opposition to Motion re: 664 MOTION in
                                                    Limine to Exclude Late Disclosed Supplemental Report of
03/17/2017 726     Motion in Limine re. Expert      Dr. James Jansen and Video Trial Exhibit of Dr. Gilbert
                                                    Kliman filed by Virginia L. Giuffre.




                                              34
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 36 of 48


                                                 DECLARATION of Sigrid McCawley in Opposition re: 664
                                                 MOTION in Limine to Exclude Late Disclosed Supplemental
                  Motion in Limine re. Expert
                                                 Report of Dr. James Jansen and Video Trial Exhibit of Dr.
03/17/2017 727                                   Gilbert Kliman filed by Virginia L. Giuffre. (Attachments: #
                            Ex. 1-4              1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed
                                                 3, # 4 Exhibit Sealed 4)

                                                 RESPONSE in Opposition to Motion re: 669 MOTION in
03/17/2017 728   Motion in Limine re. Evidence   Limine to Exclude References to Crime Victims Rights Act
                                                 Litigation filed by Virginia L. Giuffre.


                                                 DECLARATION of Bradley Edwards in Opposition re: 669
                 Motion in Limine re. Evidence   MOTION in Limine to Exclude References to Crime Victims
03/17/2017 729                                   Rights Act Litigation filed by Virginia L. Giuffre.
                            Ex. 1-6              (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4
                                                 Exhibit, # 5 Exhibit, # 6 Exhibit)


                                                 RESPONSE in Opposition to Motion re: 667 MOTION in
03/17/2017 730   Motion in Limine re. Evidence   Limine to Exclude FBI 302 Statement of Plaintiff filed by
                                                 Virginia L. Giuffre.


                                                 DECLARATION of Bradley Edwards in Opposition re: 667
                 Motion in Limine re. Evidence
                                                 MOTION in Limine to Exclude FBI 302 Statement of
03/17/2017 731                                   Plaintiff filed by Virginia L. Giuffre. (Attachments: # 1
                             Ex. 1               Exhibit)


                                                 RESPONSE in Opposition to Motion re: 681 MOTION in
03/17/2017 732
                 Motion in Limine re. Evidence   Limine to Exclude Victim Notification Letter filed by
                                                 Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 681
                 Motion in Limine re. Evidence
                                                 MOTION in Limine to Exclude Victim Notification Letter
03/17/2017 733
                                                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                            Ex. 1-3              1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3)


                                                 RESPONSE in Opposition to Motion re: 693 MOTION to
03/17/2017
           735   Motion in Limine re. Evidence   Exclude Evidence Pursuant to Fed. R. Evid. 404(b) filed by
03/17/2017                                       Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 693
                 Motion in Limine re. Evidence
                                                 MOTION to Exclude Evidence Pursuant to Fed. R. Evid.
03/17/2017 736                                   404(b) filed by Virginia L. Giuffre. (Attachments: # 1
                            Ex. 1-3              Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3)




                                            35
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 37 of 48



                                                   RESPONSE in Opposition to Motion re: 675 MOTION in
             738
03/17/2017         Motion in Limine re. Evidence   Limine to Permit Questioning Regarding Plaintiffs Sexual
                                                   History and Reputation filed by Virginia L. Giuffre.


                                                   DECLARATION of Meredith Schultz in Opposition re: 675
                   Motion in Limine re. Evidence   MOTION in Limine to Permit Questioning Regarding
             739
03/17/2017                                         Plaintiffs Sexual History and Reputation filed by Virginia L.
                              Ex. 1-4              Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                                                   Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4)

                                                   RESPONSE in Opposition to Motion re: 671 MOTION in
03/17/2017                                         Limine to Exclude Jeffrey Epstein Plea and Non-Prosecution
             740   Motion in Limine re. Evidence   Agreement and Sex Offender Registration filed by Virginia L.
                                                   Giuffre.

                                                   DECLARATION of Sigrid McCawley in Opposition re: 671
                   Motion in Limine re. Evidence   MOTION in Limine to Exclude Jeffrey Epstein Plea and
03/17/2017 741                                     Non-Prosecution Agreement and Sex Offender Registration
                              Ex. 1-2              filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                                                   1, # 2 Exhibit Sealed 2)

                                                   RESPONSE in Opposition to Motion re: 683 MOTION in
03/17/2017 742                                     Limine PLAINTIFFS MOTION IN LIMINE TO ADMIT THE
                   Motion in Limine re. Evidence
                                                   BLACK BOOK AS EVIDENCE AT TRIAL. . Document filed
                                                   by Ghislaine Maxwell.

                                                   DECLARATION of Jeffrey S. Pagliuca in Opposition re:
                                                   683 MOTION in Limine PLAINTIFFS MOTION IN LIMINE
                   Motion in Limine re. Evidence
                                                   TO ADMIT THE BLACK BOOK AS EVIDENCE AT TRIAL
03/17/2017 743                                     filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                             Ex. A-F               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                                                   Exhibit F)
                                                   RESPONSE in Opposition to Motion re: 686 MOTION in
                                                   Limine PLAINTIFF MS. GIUFFRES MEMORANDUM OF
                                                   LAW IN SUPPORT OF HER MOTION IN LIMINE TO
03/17/2017 744     Motion in Limine re. Evidence   PRESENT ALL EVIDENCE OF DEFENDANTS
                                                   INVOLVEMENT IN EPSTEIN SEXUAL ABUSE AND SEX
                                                   TRAFFICKING filed by Ghislaine Maxwell.
                                                   DECLARATION of Laura A. Menninger in Opposition re:
                                                   686 MOTION in Limine PLAINTIFF MS. GIUFFRES
                                                   MEMORANDUM OF LAW IN SUPPORT OF HER
                   Motion in Limine re. Evidence
                                                   MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF
03/17/2017 745                                     DEFENDANTS INVOLVEMENT IN EPSTEIN SEXUAL
                            Ex. A, C-E             ABUSE AND SEX TRAFFICKING.. Document filed by
                                                   Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                   B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)




                                              36
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 38 of 48



                                                   RESPONSE in Opposition to Motion re: 689 MOTION in
                 Motion in Limine re. Evidence
03/17/2017 746                                     Limine to Present Testimony for Purpose of Obtaining an
                                                   Adverse Inference Instruction filed by Ghislaine Maxwell.



                                                   RESPONSE in Opposition to Motion re: 677 MOTION in
03/17/2017 747   Motion in Limine re. Evidence     Limine to Exclude Police Reports and Other Inadmissible
                                                   Hearsay filed by Virginia L. Giuffre.


                                                   DECLARATION of Laura A. Menninger in Opposition re:
                 Motion in Limine re. Evidence     689 MOTION in Limine to Present Testimony for Purpose of
03/17/2017 748                                     Obtaining an Adverse Inference Instruction filed by
                            Ex. A-D                Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                   B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)


                                                   RESPONSE in Opposition to Motion re: 691 MOTION in
03/17/2017 749   Motion in Limine re. Evidence     Limine Omnibus filed by Ghislaine Maxwell.


                                                   DECLARATION of Meredith Schultz in Opposition re: 677
                                                   MOTION in Limine to Exclude Police Reports and Other
                 Motion in Limine re. Evidence     Inadmissible Hearsay filed by Virginia L. Giuffre.
03/17/2017 750                                     (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                            Ex. 1-9                Exhibit Sealed 3, # 4 Exhibit Composite Sealed 4, # 5
                                                   Exhibit Sealed 5, # 6 Exhibit Sealed 6, # 7 Exhibit Sealed 7,
                                                   # 8 Exhibit Composite Sealed 8, # 9 Exhibit Sealed 9)
                                                   DECLARATION of Laura A. Menninger in Opposition re:
                                                   691 MOTION in Limine Omnibus filed by Ghislaine
                                                   Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Motion in Limine re. Evidence
                                                   Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
03/17/2017 751                                     Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                        Ex. C-F, H, M-Q            Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, #
                                                   15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R,
                                                   # 19 Exhibit S)

                                                   REPLY MEMORANDUM OF LAW in Opposition re: 637
                                                   MOTION to Compel Philip Barden To Produce All Work
03/17/2017 754         Motion to Compel            Product and Attorney Client Communications. Defendant's
                                                   Surreply filed by Ghislaine Maxwell.


                                                   REPLY to Response to Motion re: 657 MOTION to Quash
03/21/2017 761   Pleadings re. Third Party-Other   filed by Jeffrey Epstein. Jeffrey Epstein Reply ISO Motion to
                                                   Quash Trial Subpoena




                                             37
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 39 of 48



                                                 RESPONSE in Opposition to Motion re: 666 MOTION in
03/21/2017 764   Motion in Limine re. Evidence   Limine to Exclude Evidence Barred as a Result of Plaintiffs
                                                 Summary Judgment Concessions filed by Virginia L. Giuffre.


                                                 RESPONSE in Opposition to Motion re: 662 MOTION to
                                                 Bifurcate Trial Relating to Punitive Damages and Exclusion
03/22/2017 766        Case Management            of any Reference to Defendants Financial Information in the
                                                 Liability Phase filed by Virginia L. Giuffre.


                                                 RESPONSE in Opposition to Motion re: 665 MOTION in
03/22/2017 768   Motion in Limine re. Evidence   Limine to Prohibit Questioning Regarding Defendants Adult
                                                 Consensual Sexual Activities filed by Virginia L. Giuffre.


                                                 DECLARATION of Sigrid McCawley in Opposition re: 665
                 Motion in Limine re. Evidence   MOTION in Limine to Prohibit Questioning Regarding
03/22/2017 769                                   Defendants Adult Consensual Sexual Activities. Document
                            Ex. 1-2              filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                                                 1, # 2 Exhibit Sealed 2)
                                                 REPLY to Response to Motion re: 689 MOTION in Limine
                                                 to Present Testimony for Purpose of Obtaining an Adverse
03/23/2017 770   Motion in Limine re. Evidence   Inference Instruction. [Re Kellen/Marcinkova]. Document
                                                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Comp
                                                 1 (Sealed), # 2 Exhibit 2 (Sealed))
                                                 DECLARATION of Sigrid S. McCawley in Support re: 689
                                                 MOTION in Limine to Present Testimony for Purpose of
03/23/2017 771   Motion in Limine re. Evidence   Obtaining an Adverse Inference Instruction filed by Virginia
                                                 L. Giuffre. (Attachments: # 1 Exhibit Composite 1 (Sealed),
                                                 # 2 Exhibit 2 (Sealed))
                                                 RESPONSE in Opposition to Motion re: 685 MOTION in
                                                 Limine PLAINTIFFS MOTION IN LIMINE TO PRECLUDE
03/23/2017 772   Motion in Limine re. Evidence   DEFENDANT FROM CALLING PLAINTIFFS ATTORNEYS
                                                 AS WITNESSES AT TRIAL filed by Ghislaine Maxwell.
                                                 DECLARATION of Jeffrey S. Pagliuca in Opposition re:
                                                 685 MOTION in Limine PLAINTIFFS MOTION IN LIMINE
                                                 TO PRECLUDE DEFENDANT FROM CALLING
                 Motion in Limine re. Evidence
                                                 PLAINTIFFS ATTORNEYS AS WITNESSES AT TRIAL filed
03/23/2017 773                                   by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                         Ex. A, F, H-J           Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                                                 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                                                 Exhibit J)

                                                 REPLY MEMORANDUM OF LAW in Support re: 683
                                                 MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
03/24/2017 774   Motion in Limine re. Evidence   ADMIT THE BLACK BOOK AS EVIDENCE AT TRIAL filed
                                                 by Virginia L. Giuffre.



                                            38
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 40 of 48


                                                  DECLARATION of Sigrid McCawley in Support re: 683
                                                  MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
                                                  ADMIT THE BLACK BOOK AS EVIDENCE AT TRIAL filed
                                                  by Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite
                 Motion in Limine re. Evidence
                                                  Sealed 1)
03/24/2017 775                                    ENDORSED LETTER addressed to Judge Robert W. Sweet
                             Ex. 1                from Jeffrey S. Pagliuca dated 3/22/17 re: Ms. Maxwell
                                                  respectfully requests that she be permitted to submit her
                                                  reply by March 31, 2017. ENDORSEMENT: Extension to
                                                  3/30 is granted. So ordered. (Replies due by 3/30/2017.)
                                                  REPLY MEMORANDUM OF LAW in Support re: 686
                                                  MOTION in Limine PLAINTIFF MS. GIUFFRES
                                                  MEMORANDUM OF LAW IN SUPPORT OF HER
03/24/2017 781   Motion in Limine re. Evidence    MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF
                                                  DEFENDANTS INVOLVEMENT IN EPSTEIN SEXUAL
                                                  ABUSE AND SEX TRAFFICKING filed by Virginia L.
                                                  Giuffre.
                                                  DECLARATION of Sigrid McCawley in Support re: 686
                                                  MOTION in Limine PLAINTIFF MS. GIUFFRES
                                                  MEMORANDUM OF LAW IN SUPPORT OF HER
                 Motion in Limine re. Evidence    MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF
03/24/2017 782                                    DEFENDANTS INVOLVEMENT IN EPSTEIN SEXUAL
                            Ex. 1-4               ABUSE AND SEX TRAFFICKING.. Document filed by
                                                  Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2
                                                  Exhibit Composite Sealed 2, # 3 Exhibit Sealed 3, # 4
                                                  Exhibit Sealed 4) (03/24/2017)

                                                  REPLY to Response to Motion re: 667 MOTION in Limine
03/24/2017 783   Motion in Limine re. Evidence    to Exclude FBI 302 Statement of Plaintiff filed by Ghislaine
                                                  Maxwell.

                                                  REPLY to Response to Motion re: 669 MOTION in Limine
                                                  to Exclude References to Crime Victims Rights Act Litigation
03/24/2017 784   Motion in Limine re. Evidence    filed by Ghislaine Maxwell. (Attachments: # 1 Appendix A,
                                                  # 2 Appendix B)
                                                  REPLY to Response to Motion re: 664 MOTION in Limine
                                                  to Exclude Late Disclosed Supplemental Report of Dr. James
03/24/2017 786    Motion in Limine re. Expert
                                                  Jansen and Video Trial Exhibit of Dr. Gilbert Kliman filed by
                                                  Ghislaine Maxwell.
                                               REPLY to Response to Motion re: 671 MOTION in Limine
                                               to Exclude Jeffrey Epstein Plea and Non-Prosecution
03/24/2017 788   Motion in Limine re. Evidence Agreement and Sex Offender Registration filed by Ghislaine
                                               Maxwell.

                                                  DECLARATION of Laura A. Menninger in Support re: 671
                 Motion in Limine re. Evidence    MOTION in Limine to Exclude Jeffrey Epstein Plea and
03/24/2017 789                                    Non-Prosecution Agreement and Sex Offender Registration
                            Ex. C                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit C, # 2
                                                  Exhibit D)




                                             39
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 41 of 48



                                                       REPLY to Response to Motion re: 675 MOTION in Limine
03/24/2017 790      Motion in Limine re. Evidence to Permit Questioning Regarding Plaintiffs Sexual History
                                                       and Reputation filed by Ghislaine Maxwell.



                                                       REPLY to Response to Motion re: 681 MOTION in Limine
03/24/2017 791     Motion in Limine re. Evidence       to Exclude Victim Notification Letter filed by Ghislaine
                                                       Maxwell.


                                                       NOTICE of Notice of Intent to Redact 03/09/17 Transcript of
                          Case Management
                                                       Proceedings [DE 756] re: 756 Notice of Filing Transcript,
03/27/2017 796                                         filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1
                                 Ex. 1                 (Filed Under Seal)



                                                       REPLY MEMORANDUM OF LAW in Support re: 691
03/27/2017 798     Motion in Limine re. Evidence       MOTION in Limine Omnibus filed by Virginia L. Giuffre.



                                                       DECLARATION of Sigrid McCawley in Support re: 691
                   Motion in Limine re. Evidence
                                                       MOTION in Limine Omnibus filed by Virginia L. Giuffre.
03/27/2017 799
                                                       (Attachments: # 1 Exhibit Composite Sealed 1, # 2 Exhibit
                                Ex. 1-3                Sealed 2, # 3 Exhibit Sealed 3)


                      Objections to Deposition         NOTICE of Filing Plaintiff's Responses to Defendant's
03/28/2017 802        Designations or Counter          Objections to Plaintiff's Deposition Designations filed by
                           Designations                Virginia L. Giuffre.



                                                       NOTICE of Filing Typographical Errors Relating to
                 Deposition Designations of Counter
03/28/2017 803                                      Plaintiff's Deposition Designations for Use at Trial filed by
                            Designations            Virginia L. Giuffre.


                                                       Objection to Production of (Blank) Submitted for in Camera
                                                       Review filed by Ghislaine Maxwell. (Defendant Objection to
03/28/2017 806            Motion to Compel             Production of Common Interest Agreement Submitted for In
                                                       Camera Review)


                                                       REPLY to Response to Motion re: 666 MOTION in Limine
                                                       to Exclude Evidence Barred as a Result of Plaintiffs
03/28/2017 807     Motion in Limine re. Evidence       Summary Judgment Concessions filed by Ghislaine
                                                       Maxwell.




                                                  40
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 42 of 48



                                                 REPLY to Response to Motion re: 665 MOTION in Limine
03/29/2017 812   Motion in Limine re. Evidence   to Prohibit Questioning Regarding Defendants Adult
                                                 Consensual Sexual Activities filed by Ghislaine Maxwell.



                  Unsealed by Second Circuit     NOTICE of Plaintiff's Proposed Redactions to This Court's
03/29/2017 813                                   Order Denying Summary Judgment filed by Virginia L.
                             Ex. 1               Giuffre. (Attachments: # 1 Exhibit Sealed 1)



                                                 REPLY to Response to Motion re: 677 MOTION in Limine
03/30/2017 815   Motion in Limine re. Evidence   to Exclude Police Reports and Other Inadmissible Hearsay
                                                 filed by Ghislaine Maxwell.


                                                 DECLARATION of Jeffrey S. Pagliuca in Support re: 677
                 Motion in Limine re. Evidence   MOTION in Limine to Exclude Police Reports and Other
03/30/2017 816                                   Inadmissible Hearsay filed by Ghislaine Maxwell.
                           Ex. D-G               (Attachments: # 1 Exhibit D, # 2 Exhibit E, # 3 Exhibit F, # 4
                                                 Exhibit G)

                                                 REPLY to Response to Motion re: 673 MOTION in Limine
                                                 Exclude Deposition Testimony of Sarah Kellen and Nadia
03/30/2017 817   Motion in Limine re. Evidence
                                                 Marcinkova or Any Witness Invoking Their Fifth Amendment
                                                 Privilege filed by Ghislaine Maxwell.


                                                 REPLY to Response to Motion re: 663 MOTION in Limine
03/30/2017 818   Motion in Limine re. Evidence   to Exclude Complaint and Settlement Agreement in Jane Doe
                                                 102 v. Jeffrey Epstein filed by Ghislaine Maxwell.


                                                 DECLARATION of Laura A. Menninger in Support re: 663
                 Motion in Limine re. Evidence   MOTION in Limine to Exclude Complaint and Settlement
03/30/2017 819                                   Agreement in Jane Doe 102 v. Jeffrey Epstein filed by
                           Ex. A-B               Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                                                 B)


                                                 REPLY to Response to Motion re: 693 MOTION to Exclude
03/30/2017 820   Motion in Limine re. Evidence   Evidence Pursuant to Fed. R. Evid. 404(b) filed by Ghislaine
                                                 Maxwell.


                                                 DECLARATION of Laura A. Menninger in Support re: 693
                 Motion in Limine re. Evidence
                                                 MOTION to Exclude Evidence Pursuant to Fed. R. Evid.
03/30/2017 821                                   404(b) filed by Ghislaine Maxwell. (Attachments: # 1
                           Ex. K-L               Exhibit J, # 2 Exhibit K, # 3 Exhibit L)




                                            41
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 43 of 48



                                                   REPLY to Response to Motion re: 662 MOTION to
                                                   Bifurcate Trial Relating to Punitive Damages and Exclusion
03/30/2017 822        Case Management              of any Reference to Defendants Financial Information in the
                                                   Liability Phase filed by Ghislaine Maxwell.


                                                   NOTICE of Intent to Request Redaction of Sealed Opinion
03/30/2017 823        Case Management              filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                                                   1)



                   Objections to Deposition
                                                   Objection to Plaintiff's Deposition Designations
04/03/2017 826     Designations or Counter         (AMENDED) filed by Ghislaine Maxwell.
                        Designations

                                                   REPLY MEMORANDUM OF LAW in Support re: 685
                                                   MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
04/03/2017 827   Motion in Limine re. Evidence     PRECLUDE DEFENDANT FROM CALLING PLAINTIFFS
                                                   ATTORNEYS AS WITNESSES AT TRIAL filed by Virginia L.
                                                   Giuffre.
                                                   DECLARATION of Sigrid McCawley in Support re: 685
                                                   MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
                 Motion in Limine re. Evidence
                                                   PRECLUDE DEFENDANT FROM CALLING PLAINTIFFS
04/03/2017 828                                     ATTORNEYS AS WITNESSES AT TRIAL filed by Virginia L.
                            Ex. 1-3                Giuffre. (Attachments: # 1 Exhibit Sealed Exhibit 1, # 2
                                                   Exhibit Sealed Exhibit 2, # 3 Exhibit Sealed Exhibit 3)
                                                   OPPOSITION BRIEF re: 806 Objection (non-motion) and
                                                   Second Motion to Compel Defendant to Produce Documents
                                                   filed by Virginia L. Giuffre. (Plaintiff Response to
04/04/2017 830        Motion to Compel             Defendant’s Objection to Production of Common Interest
                                                   Agreement Submitted for In Camera Review and Second
                                                   Motion to Compel DEF to Produce her Joint Defense
                                                   Agreements with Jeffrey Epstein)

                                                   NOTICE of Plaintiff's Briefing on an Adverse Inference
04/07/2017 838                                     Instruction Regarding Defendant's Failure to Comply with
                      Motion to Compel
04/07/2017                                         This Court's Order to Produce Her Electronic Documents and
                                                   Communications filed by Virginia L. Giuffre.

                                                   NOTICE of Declaration in Support of Plaintiff's Briefing on
                                                   an Adverse Inference Instruction Regarding Defendant's
                                                   Failure to Comply with This Courts Orders to Produce Her
                      Motion to Compel
                                                   Electronic Documents and Communications re: 838 Notice
04/06/2017 839                                     (Other), filed by Virginia L. Giuffre. (Attachments: # 1
                            Ex. 1-6                Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3,
                                                   # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5, # 6 Exhibit Sealed
                                                   Composite 6)




                                              42
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 44 of 48



                                               NOTICE of Intent to Request Redactions to the March 16,
                                               2017 Transcript filed by Virginia L. Giuffre. (Attachments: #
04/10/2017 840         Case Management         1 Exhibit Sealed 1)


                                               REPLY re: 806 Objection (non-motion) to Production of
                                               (Blank) Submitted for in Camera Review filed by Ghislaine
             841
04/11/2017             Motion to Compel        Maxwell.
                                               (Defendant’s Reply ISO Objection to Production of Common
                                               Interest Agreement Submitted for In Camera Review)

                                               DECLARATION of Jeffrey S. Pagliuca in Support re: 806
                       Motion to Compel
                                               Objection (non-motion) filed by Ghislaine Maxwell.
04/11/2017 842                                 (Attachments: # 1 Exhibit A)
                            Ex. A


                                               NOTICE of Plaintiff's Proposed Redactions to This Court's
04/11/2017 843                                 April 4, 2017 Order Denying Defendant's Motion to Compel
                       Motion to Compel        and Motion for Sanctions filed by Virginia L. Giuffre.
                                               (Attachments: # 1 Exhibit Sealed 1)


                                               MOTION for Reconsideration re; 837 Order on Motion for
                       Motion to Compel
                                               Miscellaneous Relief, Defendant's Motion Requesting Ruling
04/11/2017 844
                                               on Her Outstanding Motions filed by Ghislaine Maxwell.
                           Ex. A-B             (Attachments: # 1 Appendix A, # 2 Appendix B)



                                               MOTION to Appoint Special Master to Preside Over Third
04/11/2017 845         Case Management         Deposition of Defendant filed by Ghislaine Maxwell.



                                               DECLARATION of Laura A. Menninger in Support re: 845
                       Case Management
                                               MOTION to Appoint Special Master to Preside Over Third
04/11/2017 846                                 Deposition of Defendant filed by Ghislaine Maxwell.
                            Ex. A              (Attachments: # 1 Exhibit A)


                                               RESPONSE in Opposition to Motion re: 845 MOTION to
04/18/2017 856
                       Case Management         Appoint Special Master to Preside Over Third Deposition of
                                               Defendant filed by Virginia L. Giuffre.



                                               JOINT PRETRIAL STATEMENT filed by Virginia L.
04/18/2017 859         Case Management         Giuffre.




                                          43
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 45 of 48



                                                         NOTICE of Plaintiff's Proposed Redactions to This Court's
                                                         April 4, 2017 Order Denying Bradley Edwards Motion to
04/18/2017 860             Case Management               Quash filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                                                         Sealed 1)

                                                         FILING ERROR - DEFICIENT DOCKET ENTRY -
                                                         MOTION to Compel Non-Party Witness to Produce
                                                         Documents and Respond to Deposition Questions and to
4/20/2017    864           Motion to Compel              Complete Search of ESI filed by Ghislaine Maxwell.
                                                         (Attachments: # 1 Declaration of Laura Menninger, # 2
                                                         Exhibits A-F)

                                                         RESPONSE in Opposition to Motion re: 864 MOTION to
                                                         Compel Non-Party Witness to Produce Documents and
04/26/2017 871             Motion to Compel              Respond to Deposition Questions and to Complete Search of
                                                         ESI filed by John Stanley Pottinger.

                                                         OPINION: Because of the existence of triable issues of
                                                         material fact rather than opinion and because the pre-
                                                         litigation privilege is inapplicable, the motion for summary
                                                         judgment is denied. For the reasons set forth above, the
                                                         motion for summary judgment is denied. The parties are
04/27/2017 872                                           directed to jointly file a proposed redacted version of this
                      Unsealed by Second Circuit         Opinion consistent with the Protective Order or notify the
                                                         Court that none are necessary within one week of the date of
                                                         receipt of this Opinion. Motions terminated: denying 540
                                                         MOTION for Summary Judgment, filed by Ghislaine
                                                         Maxwell.
                                                         NOTICE of Errata filed by Jeffrey Epstein.


             873   Pleadings re. Third Parties - Other
04/28/2017                                               NOTICE of Errata filed by Jeffrey Epstein.




04/26/2017 874     Pleadings re. Third Parties – Other REDACTION Declaration by Jeffrey Epstein



                                                         NOTICE of Pursuant to Rule 415 Of Similar Acts Evidence
04/28/2017 875             Case Management               filed by Virginia L. Giuffre.


                                                       .
                                                       REPLY to Response to Motion re: 864 MOTION to Compel
04/28/2017 876                                         Non-Party Witness to Produce Documents and Respond to
                   Pleadings re. Third Parties - Other Deposition Questions and to Complete Search of ESI filed by
                                                       Ghislaine Maxwell.



                                                  44
        Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 46 of 48


                                                     DECLARATION of Laura A. Menninger in Support re: 864
                                                     MOTION to Compel Non- Party Witness to Produce
04/28/2017 877
                 Pleadings re. Third Parties - Other Documents and Respond to Deposition Questions and to
                                                     Complete Search of ESI filed by Ghislaine Maxwell.
                                                     (Attachments: # 1 Exhibit F)


                 Motion in Limine re. Admissibility
                                                    MOTION to Exclude Undisclosed Witnesses and Exhibits
04/28/2017 878              of Evidence             Pursuant to Fed. R. Civ. P. 37(c) filed by Ghislaine Maxwell.



                 Motion in Limine re. Admissibility DECLARATION of Laura A. Menninger in Support re: 878
                                                    MOTION to Exclude Undisclosed Witnesses and Exhibits
                            of Evidence
04/28/2017 879                                        Pursuant to Fed. R. Civ. P. 37(c) filed by Ghislaine Maxwell.
                                                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
                               Ex. A-G                4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)


                                                      FILING ERROR - WRONG EVENT TYPE SELECTED
05/01/2017 882   Motion in Limine re. Admissibility
                                                    FROM MENU – MOTION in Limine to Exclude Philip
                            of Evidence             Barden filed by Virginia L. Giuffre.


                 Motion in Limine re. Admissibility FILING ERROR - DEFICIENT DOCKET ENTRY -
                                                    DECLARATION of Sigrid McCawley in Support re: 882
                            of Evidence
05/01/2017 883                                        MOTION in Limine to Exclude Philip Barden filed by
                                                      Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2
                               Ex. 1-3                Exhibit Sealed Composite 2, # 3 Exhibit Sealed 3)

                                                      MOTION to Exclude Philip Barden from Testifying at Trial,
                 Motion in Limine re. Admissibility to Exclude Defenses Based Upon Certain Documents and for
05/02/2017 885
                            of Evidence             Adverse Inference Jury Instruction filed by Virginia L.
                                                      Giuffre..

                                                      DECLARATION of Sigrid McCawley in Support re: 885
                 Motion in Limine re. Admissibility MOTION to Exclude Philip Barden from Testifying at Trial,
                            of Evidence             to Exclude Defenses Based Upon Certain Documents and for
05/02/2017 886                                      Adverse Inference Jury Instruction filed by Virginia L.
                              Ex. 1-3               Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                                                    Composite Sealed 2, # 3 Exhibit Sealed 3)
                                                    DECLARATION of Sigrid McCawley in Support re: 885
                 Motion in Limine re. Admissibility MOTION to Exclude Philip Barden from Testifying at Trial,
                            of Evidence             to Exclude Defenses Based Upon Certain Documents and for
05/02/2017 886                                      Adverse Inference Jury Instruction filed by Virginia L.
                               Ex. 1-3              Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                                                    Composite Sealed 2, # 3 Exhibit Sealed 3)


                                                      REDACTION Declaration of Jack Goldberger by Jeffrey
05/02/2017 888    Pleadings re. Third Party-Other     Epstein




                                                 45
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 47 of 48



                                                         RESPONSE re: 875 Notice (Other) in Opposition to
                   Motion in Limine re. Admissibility
05/03/2017 893                                        Plaintiffs Notice Pursuant to Rule 415 of Similar Acts
                              of Evidence             Evidence filed by Ghislaine Maxwell



                           Case Management               NOTICE of Intent to Request Redactions to March 30 & 31,
05/03/2017 894                                           2017 Hearing Transcripts filed by Virginia L. Giuffre.
                                  Ex. 1                  (Attachments: # 1 Exhibit Sealed 1)


                   Motion in Limine re. Admissibility DECLARATION of Laura A. Menninger in Support re: 893
                              of Evidence             Response filed by Ghislaine Maxwell. (Attachments: # 1
05/03/2017 895                                           Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                                 Ex. A-G                 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)


                                                       MOTION to Compel Non-Party Witness to Produce
                                                       Documents and Respond to Deposition Questions and to
05/04/2017 896     Pleadings re. Third Parties – Other
                                                       Complete Search of ESI (Refiled). Document filed by
                                                       Ghislaine Maxwell. (05/04/2017)

                                                         DECLARATION of Laura A. Menninger in Support re: 896
                   Pleadings re. Third Parties – Other MOTION to Compel Non- Party Witness to Produce
05/04/2017 897                                           Documents and Respond to Deposition Questions and to
                                 Ex. A-F                 Complete Search of ESI (Refiled) filed by Ghislaine
                                                         Maxwell. (Attachments: # 1 Exhibit A-F) (05/04/2017)


                                                         MOTION for Order to Show Cause and to Enforce Court's
05/05/2017 900
                           Motion to Compel              March 22, 2017 Order filed by Virginia L. Giuffre.



                                                         DECLARATION of Meredith Schultz in Support re: 900
                           Motion to Compel              MOTION for Order to Show Cause and to Enforce Court's
             901
05/05/2017                                               March 22, 2017 Order filed by Virginia L. Giuffre.
                         Improper Purpose Ex. 1          (Attachments: # 1 Exhibit Sealed 1)


                                                         RESPONSE in Opposition to Motion re: 878 MOTION to
                   Motion in Limine re. Admissibility Exclude Undisclosed Witnesses and Exhibits Pursuant to
05/05/2017                                            Fed. R. Civ. P. 37(c) filed by Virginia L. Giuffre.
             906              of Evidence

                                                      DECLARATION of Sigrid McCawley in Opposition re: 878
                                                      MOTION to Exclude Undisclosed Witnesses and Exhibits
                   Motion in Limine re. Admissibility Pursuant to Fed. R. Civ. P. 37(c) filed by Virginia L. Giuffre.
                              of Evidence             (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
05/05/2017 907                                        Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5,
                                Ex. 1-11              # 6 Exhibit Sealed 6, # 7 Exhibit Sealed 7, # 8 Exhibit Sealed
                                                      8, # 9 Exhibit Sealed 9, # 10 Exhibit Sealed 10, # 11 Exhibit
                                                      Sealed 11)
                                                    46
         Case 1:15-cv-07433-LAP Document 991-1 Filed 09/25/19 Page 48 of 48




             908                                         MOTION for Order Directing the FBI to Produce
05/05/2017         Pleadings re. Third Parties – Other
                                                         Photographs to the Court filed by Virginia L. Giuffre.



                   Pleadings re. Third Parties – Other DECLARATION of Bradley Edwards in Support re: 908
                                                         MOTION for Order Directing the FBI to Produce
05/05/2017 909                                           Photographs to the Court filed by Virginia L. Giuffre.
                                Ex. A-B                  (Attachments: # 1 Exhibit Sealed A, # 2 Exhibit Sealed B)

                                                         LETTER addressed to Judge Robert W. Sweet from Andrew
                                                         G. Celli. Jr. dated June 21, 2017 re: Confidentiality
06/21/2017 922        Pleadings re. Third Parties –
                                                         Designations filed by Alan M. Dershowitz. (Attachments: #
                              Intervenors                1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                                                         Exhibit 5, # 6 Exhibit 6)
                                                         RESPONSE in Opposition to Motion re: 924 LETTER
                                                         MOTION to Seal Document Submitted by Proposed
                      Pleadings re. Third Parties -      Intervenors Jeffrey Epstein and Lesley Groff addressed to
10/19/2017 928
                              Intervenors                Judge Robert W. Sweet from Michael C. Miller dated
                                                         October 3, 2017 filed by Virginia L. Giuffre.
                                                         SEALED DOCUMENT placed in vault.

                      Pleadings re. Third Parties -
                                                         NOTICE of Notice of Intent to Request Redaction of
11/28/2017 933                Intervenors
                                                         November 8 2017 Hearing Transcript filed by Virginia L.
                                                         Giuffre. (Attachments: # 1 Exhibit 1 Redacted)
                                 Ex. 1
                                                         LETTER addressed to Judge Robert W. Sweet from Andrew
                      Pleadings re. Third Parties -      G. Celli, Jr. dated May 8, 2018 re: Pending application of
                              Intervenors                Julie Brown and the Miami Herald Media Company to
05/08/2018 947                                           intervene and unseal filed by Alan M. Dershowitz.
                                 Ex. A                   (Attachments: # 1 Exhibit A - June 2017 Letter (Redacted)
                                                         SEALED DOCUMENT placed in vault.


                                                         MOTION for Order to Show Cause re Protective Order filed
12/04/2018 957             Motion to Compel              by Ghislaine Maxwell.



                           Motion to Compel              DECLARATION of Ty Gee in Support re: 957 MOTION for
12/18/2018 963                                           Order to Show Cause re Protective Order filed by Ghislaine
                                 Ex. 1                   Maxwell. (Attachments: # 1 Exhibit E)




                                                  47
